Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 1 of 53 Page ID
                                 #:2810


 1   KIMBERLY K. CHEMERINSKY (State Bar No. 277637)
     ALSTON & BIRD LLP
 2   333 S. Hope Street, 16th Floor
     Los Angeles, CA 90071
 3   Telephone: 213-576-1000
     Facsimile: 213-576-1100
 4   Email:      kim.chemerinsky@alston.com
 5   FRANK E. SHEEDER III (Admitted Pro Hac Vice)
     ALSTON & BIRD LLP
 6   2200 Ross Avenue, Suite 2300
     Dallas, TX 75201
 7   Telephone: 214-922-3400
     Facsimile: 214-922-3899
 8   E-mail:     frank.sheeder@alston.com
 9   Attorneys for Moving Defendants
     STANFORD HEALTH CARE, STANFORD
10   HEALTH CARE ADVANTAGE, THE LELAND STANFORD
     JUNIOR UNIVERSITY (A/K/A THE BOARD OF TRUSTEES
11   OF THE LELAND STANFORD JUNIOR UNIVERSITY),
     DEBRA ZUMWALT, and FREDERICK DIRBAS
12                      UNITED STATES DISTRICT COURT
13                     CENTRAL DISTRICT OF CALIFORNIA

14 UNITED STATES OF AMERICA                     Case No. 2:17-cv-08726-DSF-AFM
                                                Assigned to the Honorable Dale S.
15          and                                 Fischer, [Courtroom 7D]

16 THE STATE OF CALIFORNIA                DECLARATION OF FRANK E.
   Ex. Relator Emily Roe., an individual; SHEEDER III IN SUPPORT OF
17                                        MOVING DEFENDANTS’ REPLY IN
          Plaintiffs,                     SUPPORT OF MOTION TO DISMISS
18                                        THE SECOND AMENDED
          v.                              COMPLAINT PURSUANT TO
19                                        FEDERAL RULE OF CIVIL
   STANFORD HEALTHCARE BILLING PROCEDURE 10(A)
20 DEPARTMENT, STANFORD HEALTH
   CARE (FORMERLY KNOWN AS                [Filed concurrently with Moving
21 STANFORD       HOSPITALS   AND         Defendants’ Reply in Support of Motion
   CLINICS), DR. FREDERICK DIRBAS, to Dismiss Second Amended Complaint
22 DEBRA ZUMWALT, THE BOARD OF Pursuant to Federal Rule of Civil
   DIRECTORS OF THE STANFORD              Procedure 10(a)]
23 HEALTH     CARE,     THE BOARD   OF
   DIRECTORS OF THE LUCILE SALTER Hearing
24 PACKARD CHILDREN’S HOSPITAL Date: July 13, 2020
   AT STANFORD, THE LELAND                Time: 1:30 p.m.
25 JUNIOR    UNIVERSITY,     THE  BOARD   Ctrm: First Street Courthouse
   OF TRUSTEES OF STANFORD                      Courtroom 7D
26 UNIVERSITY,        STANFORD  HEALTH          350 West 1st Street
   CARE ADVANTAGE and DOES 1-10,                Los Angeles, CA 90012
27 inclusive.
                                          Second Am. Complaint: March 2, 2020
28        Defendants.
                                          -1-
         DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ REPLY IN
        SUPPORT OF MOTION TO DISMISS SECOND AMENDED COMPLAINT PURSUANT TO RULE 10(A)
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 2 of 53 Page ID
                                 #:2811


 1         I, Frank E. Sheeder III, declare under penalty of perjury as follows:
 2         1.     I am an attorney licensed to practice law in Texas since 1987, admitted
 3   pro hac vice before this Court, and counsel of record in this matter for Defendants
 4   Stanford Health Care (“SHC”), Stanford Health Care Advantage (“SHCA”), The
 5   Leland Stanford Junior University (a/k/a The Board of Trustees of the Leland
 6   Stanford Junior University) (the “University”), Debra Zumwalt (“Ms. Zumwalt”),
 7   and Frederick Dirbas (“Dr. Dirbas”) (collectively “Moving Defendants”). I submit
 8   this declaration in support of Moving Defendants’ Reply in Support of Motion to
 9   Dismiss Second Amended Complaint Pursuant to Federal Rule of Civil Procedure
10   10(a). The facts set forth herein are based on my personal knowledge and, if called
11   upon to do so, I would competently testify thereto.
12         2.     Gloria Juarez is Relator’s counsel of record in this matter. The Court’s
13   docket     currently   shows    Ms.     Juarez’s   preferred    email    address    as
14   “gloria@thegjlaw.com” and her mailing address as “26081 Merit Circle Suite 112,
15   Laguna Hills, CA 92653.” Relator’s recent filings also contain this information. A
16   true and correct copy of the Court’s docket for this matter on June 26, 2020, available
17   through the online Case Management/Electronic Case Files system, is attached as
18   Exhibit A.
19         3.     The website associated with Ms. Juarez’s email address, thegjlaw.com
20   (“Ms. Juarez’s Website”), states that she is a partner in The Law Offices of Gloria
21   Juarez, also referred to as “Gloria Juarez Law” or “GJLaw.” Ms. Juarez’s Website
22   also describes her practice as focusing on the False Claims Act, states that her office
23   is currently investigating fraud allegations against SHC, invites potential witnesses
24   to contact her, and includes links to filings from this matter. True and correct PDF
25   copies of the “Home” page and the “Stanford HealthCare False Claims” page
26   (available through the “More” link on the “Home” page) from Ms. Juarez’s Website
27   on June 26, 2020, are attached as Exhibit B.
28
                                                -2-
         DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ REPLY IN
        SUPPORT OF MOTION TO DISMISS SECOND AMENDED COMPLAINT PURSUANT TO RULE 10(A)
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 3 of 53 Page ID
                                 #:2812


 +         .(     B^( ?`M]Qdh^ KQN^U_Q WU^_^ _TQ _QWQ[TZYQ Y`XNQ] $3.3% ,22'-.*, RZ]
 ,   eBQPUM >Y\`U]UQ^(f HTM_ Y`XNQ] bM^ []QaUZ`^Wc WU^_QP ZY B^( ?`M]Qdh^ KQN^U_Q M^
 -   _TQ _QWQ[TZYQ Y`XNQ] RZ] MY e6[[]QY_UOQ(f H]`Q MYP OZ]]QO_ ]QPMO_QP E9; OZ[UQ^ ZR
 .   _TQ e=ZXQf [MSQ MYP _TQ eG_MYRZ]P =QMW_T8M]Q ;MW^Q 8WMUX^f [MSQ $MaMUWMNWQ
 /   _T]Z`ST _TQ eBZ]Qf WUYV ZY _TQ e=ZXQf [MSQ% R]ZX B^( ?`M]Qdh^ KQN^U_Q ZY ?MY`M]c
 0   -+& ,*,*& M]Q M__MOTQP M^ %1,-*-0 #(
 1         /(     > MX MbM]Q ZR M_ WQM^_ RUaQ []Q^^ ]QWQM^Q^ U^^`QP Nc <?AMb MNZ`_ _TU^
 2   XM__Q]& QMOT ZR bTUOT WU^_ <WZ]UM ?`M]Qd M^ _TQ OZY_MO_ [Q]^ZY RZ] _TQ []Q^^ ]QWQM^Q MYP
 3   UYOW`PQ _TQ _QWQ[TZYQ Y`XNQ] ]QRQ]QYOQP UY [M]MS]M[T . MNZaQ4 $+% eKTU^_WQNWZbQ]
+*   AMb^`U_ FQOQY_Wc IY^QMWQP&f bbb([](OZX)[]Q^^']QWQM^Q)13/2,2 $DO_ZNQ] +2& ,*+3%5
++   $,% e9D? >^^`Q^ gG_M_QXQY_ ZR >Y_Q]Q^_h UY G_MYRZ]P =QMW_T 7UWWUYS ;]M`P 8M^Q&f
+,   bbb([](OZX)[]Q^^']QWQM^Q)2*.,.0 $?MY`M]c -*& ,*,*%5 $-% eCQbWc IY^QMWQP
+-   AMb^`U_ UY ;QPQ]MW 8Z`]_ 6WWQSQ^ DYSZUYS =QMW_TOM]Q ;]M`P Nc G_MYRZ]P MYP
+.   G_MYRZ]P =QMW_TOM]Q UY EMWZ 6W_Z& 8MWURZ]YUM&f T__[^4))bbb([](OZX)[]Q^^'
+/   ]QWQM^Q)13/2.2 $?MY`M]c -+& ,*,*%5 $.% eCQb 8ZX[WMUY_ ;UWQP UY IYU_QP G_M_Q^ a^(
+0   G_MYRZ]P =QMW_T 8M]Q $G_MYRZ]P =Z^[U_MW^% 6WWQSQP 7UWWUYS ;]M`P 8M^Q&f
+1   T__[^4))bbb([](OZX)[]Q^^']QWQM^Q)2*1/2, $BM]OT +*& ,*,*%5 MYP $/% eG_MYRZ]P
+2   =Z^[U_MW 6OO`^QP ZR 6WWQSQP #.02 BUWWUZY 9ZWWM] =QMW_TOM]Q 7UWWUYS ;]M`P5 9D?
+3   ;UWQP U_^ GQOZYP G_M_QXQY_ ZR >Y_Q]Q^_ UY ;QPQ]MW 8Z`]_&f T__[^4))bbb([](OZX)[]Q^^'
,*   ]QWQM^Q)2+/++. $?`YQ +3& ,*,*%( H]`Q MYP OZ]]QO_ OZ[UQ^ ZR _TQ^Q []Q^^ ]QWQM^Q^ M]Q
,+   M__MOTQP ]Q^[QO_UaQWc M^ %1,-*-0/ $& %& && '& MYP ((
,,         0(     6 WZS ZR ;]QQPZX ZR >YRZ]XM_UZY 6O_ $e;D>6f% ]Q\`Q^_^ ]QOQUaQP Nc _TQ
,-   8QY_Q]^ RZ] BQPUOM]Q MYP BQPUOMUP GQ]aUOQ^ $e8BGf% P`]UYS BM]OT ,*+1 PZQ^ YZ_
,.   WU^_ MYc ]Q\`Q^_Z]^ bU_T _TQ YMXQ e:XUWc FZQ&f _TQ YMXQ []UY_QP ZY _TQ XQPUOMW
,/   ]QOZ]P^ M__MOTQP _Z _TQ GQOZYP 6XQYPQP 8ZX[WMUY_& Z] MYc_TUYS _TM_ ]Q^QXNWQ^ _TQ
,0   [M]_UMW YMXQ RZ] _TQ e6[[]QY_UOQf RZ]XQ]Wc UYOW`PQP ZY B^( ?`M]Qdh^ KQN^U_Q( 6 _]`Q
,1   MYP OZ]]QO_ OZ[c ZR _TM_ WZS& bTUOT U^ MaMUWMNWQ ZY 8BGh^ bQN^U_Q M_
,2
                                                '-'
         9:8A6F6H>DC D; ;F6C@ :( G=::9:F >>> >C GIEEDFH D; BDJ>C< 9:;:C96CHGh F:EAL >C
        GIEEDFH D; BDH>DC HD 9>GB>GG G:8DC9 6B:C9:9 8DBEA6>CH EIFGI6CH HD FIA: +*$6%
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 4 of 53 Page ID
                                 #:2813


 1   https://www.cms.gov/Regulations-and-Guidance/Legislation/FOIA/rdgroom,              is
 2   attached as Exhibit I.
 3
 4
 5         I declare under penalty of perjury under the laws of the United States that the
 6   foregoing is true and correct. Executed this 29th day of June 2020, in Dallas, Texas.
 7
 8                                          /s/Frank E. Sheeder III
                                                         Frank E. Sheeder III
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               -4-
         DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ REPLY IN
        SUPPORT OF MOTION TO DISMISS SECOND AMENDED COMPLAINT PURSUANT TO RULE 10(A)
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 5 of 53 Page ID
                                 #:2814




                               Exhibit A
:36:36464   Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 6 of 53 Page ID
                                           GQ3IGJ$1$Gepmjsvrme$Girxvep$Hmwxvmgx
                                             #:2815
                             Uyiv}    Vitsvxw$     Yxmpmxmiw$    Lipt    Psk$Syx

                                                                           EGGS0,EJQ|-0HMWGSZIV]0QEREHV

                          YRMXIH$WXEXIW$HMWXVMGX$GSYVX
             GIRXVEP$HMWXVMGX$SJ$GEPMJSVRME$,[iwxivr$Hmzmwmsr$1$Psw$Erkipiw-
                  GMZMP$HSGOIX$JSV$GEWI$'>$6>5;1gz14<;6:1HWJ1EJQ


 Yrmxih$Wxexiw$sj$Eqivmge$ix$ep$z2$Wxerjsvh$Liepxlgevi$Fmppmrk          Hexi$Jmpih>$563483645;
 Sjjmgi$ix$ep                                                           Nyv}$Hiqerh>$Tpemrxmjj
 Ewwmkrih$xs>$Nyhki$Hepi$W2$Jmwgliv                                     Rexyvi$sj$Wymx>$7;9$Sxliv$Wxexyxiw>$Jepwi
 Vijivvih$xs>$Qekmwxvexi$Nyhki$Epi|erhiv$J2$QegOmrrsr                   Gpemqw$Egx
 Geywi>$75>7;6=$Jepwi$Gpemqw$Egx                                        Nyvmwhmgxmsr>$Y2W2$Kszivrqirx$Tpemrxmjj
 Tpemrxmjj
 Yrmxih$Wxexiw$sj$Eqivmge$                            vitviwirxih$f} Jvero$H$Osvxyq$
 i|2$vip2$Iqmp}$Vsi0$er$mrhmzmhyep                                   EYWE$1$Sjjmgi$sj$YW$Exxsvri}$
                                                                     Ewwix$Jsvjimxyvi$Wigxmsr$
                                                                     744$R$Psw$Erkipiw$Wxviix$Vq$;95:$
                                                                     Psw$Erkipiw0$GE$=4456$
                                                                     6571<=81:<85$
                                                                     Je|>$6571<=81;<5=$
                                                                     Iqemp>$jvero2osvxyqDywhsn2ksz$
                                                                     PIEH$EXXSVRI]$
                                                                     EXXSVRI]$XS$FI$RSXMGIH

                                                                        Fvirx$E$[lmxxpiwi}$
                                                                        EYWE$1$Sjjmgi$sj$YW$Exxsvri}$
                                                                        Gmzmp$Jveyh$Wigxmsr$
                                                                        744$Rsvxl$Psw$Erkipiw$Wxviix$Wymxi$;95:$
                                                                        Psw$Erkipiw0$GE$=4456$
                                                                        6571<=816889$
                                                                        Je|>$6571<=81;<5=$
                                                                        Iqemp>$fvirx2{lmxxpiwi}Dywhsn2ksz$
                                                                        XIVQMREXIH>$463653645=

 Tpemrxmjj
 Xli$Wxexi$sj$Gepmjsvrme$
 i|2$vip2$Iqmp}$Vsi0$er$mrhmzmhyep

 Tpemrxmjj
 Iqmp}$Vsi$                                           vitviwirxih$f} Kpsvme$Q$Nyevi~$
 i|2$vip2                                                            Pe{$Sjjmgiw$sj$Kpsvme$Nyevi~$
                                                                     6:4<5$Qivmx$Gmvgpi$Wymxi$556$
                                                                     Pekyre$Lmppw0$GE$=6:97$
                                                                     65719=<1887=$
                                                                     Je|>$;581=5=14698$
                                                                     Iqemp>$kpsvmeDxliknpe{2gsq$
                                                                     PIEH$EXXSVRI]$
                                                                     EXXSVRI]$XS$FI$RSXMGIH

                                                                                                           5        5354
:36:36464   Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 7 of 53 Page ID
                                           GQ3IGJ$1$Gepmjsvrme$Girxvep$Hmwxvmgx
                                             #:2816
 Z2
 Hijirherx
 Wxerjsvh$Liepxlgevi$Fmppmrk$Hitevxqirx

 Hijirherx
 Wxerjsvh$Liepxl$Gevi$                         vitviwirxih$f} Jvero$I$Wliihiv$0$MMM$
 jsvqivp}$ors{r$ew                                            Epwxsr$erh$Fmvh$PPT$
 Wxerjsvh$Lswtmxepw$erh$Gpmrmgw                               6644$Vsww$Eziryi$Wymxi$6744$
                                                              Heppew0$X\$;9645$
                                                              6581=6617864$
                                                              Je|>$6581=6617<==$
                                                              Iqemp>$jvero2wliihivDepwxsr2gsq$
                                                              TVS$LEG$ZMGI$
                                                              EXXSVRI]$XS$FI$RSXMGIH

                                                             Omqfivp}$Omwefixl$Gliqivmrwo}$
                                                             Epwxsr$erh$Fmvh$PPT$
                                                             777$Wsyxl$Lsti$Wxviix$5:xl$Jpssv$
                                                             Psw$Erkipiw0$GE$=44;5$
                                                             65719;:15444$
                                                             Je|>$65719;:15544$
                                                             Iqemp>$omq2gliqivmrwo}Depwxsr2gsq$
                                                             EXXSVRI]$XS$FI$RSXMGIH
 Hijirherx
 Hv2$Jvihivmgo$Hmvfew                          vitviwirxih$f} Jvero$I$Wliihiv$0$MMM$
                                                              ,Wii$efszi$jsv$ehhviww-$
                                                              EXXSVRI]$XS$FI$RSXMGIH

                                                             Omqfivp}$Omwefixl$Gliqivmrwo}$
                                                             ,Wii$efszi$jsv$ehhviww-$
                                                             EXXSVRI]$XS$FI$RSXMGIH

 Hijirherx
 Xli$Fsevh$sj$Hmvigxsvw$sj$xli$Wxerjsvh
 Liepxl$Gevi
 Hijirherx
 Xli$Fsevh$sj$Hmvigxsvw$sj$xli$Pygmpi
 Wepxiv$Tegoevh$Glmphvirw$Lswtmxep$ex
 Wxerhsvh

 Hijirherx
 Xli$Piperh$Nyrmsv$Yrmzivwmx}                  vitviwirxih$f} Jvero$I$Wliihiv$0$MMM$
                                                              ,Wii$efszi$jsv$ehhviww-$
                                                              TVS$LEG$ZMGI$
                                                              EXXSVRI]$XS$FI$RSXMGIH

                                                             Omqfivp}$Omwefixl$Gliqivmrwo}$
                                                             ,Wii$efszi$jsv$ehhviww-$
                                                             EXXSVRI]$XS$FI$RSXMGIH
                                                                                                 6   6354
       Case 2:17-cv-08726-DSF-AFM Document
:36:36464                                  77-1 Filed 06/29/20 Page 8 of 53 Page ID
                                      GQ3IGJ$1$Gepmjsvrme$Girxvep$Hmwxvmgx

 Hijirherx                              #:2817
 Xli$Fsevh$sj$Xvywxiiw$sj$Wxerjsvh
 Yrmzivwmx}

 Hijirherx
 Hsiw$
 5154

 Hijirherx
 Hifve$^yq{epx                                         vitviwirxih$f} Jvero$I$Wliihiv$0$MMM$
                                                                      ,Wii$efszi$jsv$ehhviww-$
                                                                      TVS$LEG$ZMGI$
                                                                      EXXSVRI]$XS$FI$RSXMGIH

                                                                       Omqfivp}$Omwefixl$Gliqivmrwo}$
                                                                       ,Wii$efszi$jsv$ehhviww-$
                                                                       EXXSVRI]$XS$FI$RSXMGIH

 Hijirherx
 Wxerjsvh$Liepxl$Gevi$Ehzerxeki                        vitviwirxih$f} Jvero$I$Wliihiv$0$MMM$
                                                                      ,Wii$efszi$jsv$ehhviww-$
                                                                      TVS$LEG$ZMGI$
                                                                      EXXSVRI]$XS$FI$RSXMGIH

                                                                       Omqfivp}$Omwefixl$Gliqivmrwo}$
                                                                       ,Wii$efszi$jsv$ehhviww-$
                                                                       EXXSVRI]$XS$FI$RSXMGIH

 Hijirherx
 HV2$Hmvfew$Jvihivmgo

 Mrxiviwxih$Tevx}
 Psw$Erkipiw$Gsyrx}$Hmwxvmgx$Exxsvri}+w
 Sjjmgi


  Hexi$Jmpih        '   Hsgoix$Xi|x
  563483645;        5$ GSQTPEMRX$ekemrwx$Hijirherxw$Gewi$ewwmkrih$xs$Nyhki$Hepi$W2$Jmwgliv$jsv$epp$jyvxliv
                       tvsgiihmrkw2$Hmwgsziv}$vijivvih$xs$Qekmwxvexi$Nyhki$Epi|erhiv$J2$QegOmrrsr2,Jmpmrk$jii
                       ($844$TEMH-$Nyv}$Hiqerhih0$jmpih$f}$Tpemrxmjj$Iqmp}$Vsi2$,Exxeglqirxw>$'$5$Tevx$6$sj
                       Gsqtpemrx0$'$6$Tevx$7$sj$Gsqtpemrx0$'$7$Tevx$8$sj$Gsqtpemrx0$'$8$Tevx$9$sj$Gsqtpemrx0$'$9
                       Tevx$:$sj$Gsqtpemrx0$'$:$Tevx$;$sj$Gsqtpemrx-$,gev-$,Irxivih>$5634:3645;-
  563483645;        6$ GIVXMJMGEXI$sj$Mrxiviwxih$Tevxmiw$jmpih$f}$Tpemrxmjj$Iqmp}$Vsi$,gev-$,Irxivih>
                       5634:3645;-
  563483645;        7$ RSXMGI$SJ$EWWMKRQIRX$xs$Hmwxvmgx$Nyhki$Hepi$W2$Jmwgliv$erh$Qekmwxvexi$Nyhki
                       Epi|erhiv$J2$QegOmrrsr2$,gev-$,Irxivih>$5634:3645;-
  563483645;        8$ RSXMGI$XS$TEVXMIW$SJ$GSYVX1HMVIGXIH$EHV$TVSKVEQ$jmpih2$,gev-$,Irxivih>
                       5634:3645;-
  5634:3645;        9$ WXERHMRK$SVHIV$JSV$GEWIW$EWWMKRIH$XS$NYHKI$HEPI$W2$JMWGLIV$ytsr
                       jmpmrk$sj$xli$gsqtpemrx$f}$Nyhki$Hepi$W2$Jmwgliv2$Mj$e$tevx}${syph$fi$irxmxpih$xs$exxsvri}w
                                                                                                           7         7354
:36:36464   Case 2:17-cv-08726-DSF-AFM Document             77-1 Filed 06/29/20 Page 9 of 53 Page ID
                                                      GQ3IGJ$1$Gepmjsvrme$Girxvep$Hmwxvmgx
                                                         #:2818
                        jiiw0$gsyrwip$evi$vijivvih$xs$xli$Svhiv$Vi$Jiiw$jsyrh$sr$Gsyvx+w${ifwmxi$yrhiv$Nyhki
                        Jmwgliv+w$Tvsgihyviw$erh$Wglihypiw$gsrxemrih$mr$xli$Nyhki+w$Viuymviqirxw$xef2$Vieh$epp
                        Svhivw$gevijypp}2$Xli}$kszivr$xlmw$gewi$erh$hmjjiv$mr$wsqi$viwtigxw$jvsq$xli$Psgep$Vypiw2
                        GSYRWIP$EVI$SVHIVIH$XS$TVSZMHI$E$QERHEXSV]$GLEQFIVW$GST]$SJ
                        XLI$GSQTPEMRX0$RSXMGI$SJ$VIQSZEP0$ERH$ER]$SXLIV$MRMXMEXMRK
                        HSGYQIRXW2$,ht-$,Irxivih>$5634:3645;-
  563653645;          :$ Qemp$Vixyvrih$ehhviwwih$xs$Iqmp}$Vsi$vi$Rsxmgi$sj$Ewwmkrqirx$xs$Yrmxih$Wxexiw
                         Nyhkiw,GZ15<-$1$stxmsrep$lxqp$jsvq$7$,}p-$,Irxivih>$563653645;-
  453493645<          ;$ Qemp$Vixyvrih$ehhviwwih$xs$Iqmp}$Vsi$vi$Wxerhmrk$Svhiv$ytsr$Jmpmrk$sj$Gsqtpemrx$9$2
                         ,tws-$,Irxivih>$453493645<-
  453683645<          <$ TVSSJ$SJ$WIVZMGI$SJ$WYQQSRW$ERH$GSQTPEMRX2$,ft-$,Irxivih>$4536=3645<-
  453683645<          =$ TVSSJ$SJ$WIVZMGI$SW$WYQQSRW$ERH$GSQTPEMRX2$,ft-$,Irxivih>$4536=3645<-
  463493645<         54$ RSXMGI$SJ$RSR$MRXIVZIRXMSR2$,ft-$,Irxivih>$4634:3645<-
  4636;3645<         55$ GSRWIRX$SVHIV$KVERXMRK$WYFWXMXYXMSR$SJ$EXXSVRI]$f}$Nyhki$Hepi$W2
                         Jmwgliv$,WII$SVHIV$JSV$WTIGMJMGW-$,ft-$,Irxivih>$473493645<-
  4834:3645<         56$ RSXMGI$SJ$IPIGXMSR$F]$XLI$YRMXIH$WXEXIH$XS$HIGPMRI$MRXIVZIRXMSR
                         jmpih$f}$Tpemrxmjj$Yrmxih$Wxexiw$sj$Eqivmge2$,ft-$,Irxivih>$483553645<-
  4834=3645<         57$ RSXMGI$SJ$HIGPMREXMSR$XS$SJ$MRXIVIWXIH$TEVX]$jmpih$f}$Mrxiviwxih$Tevx}
                         Psw$Erkipiw$Gsyrx}$Hmwxvmgx$Exxsvri}+w$Sjjmgi2$,ft-$,Irxivih>$483563645<-
  4:34:3645<         58$ RSXMGI$SJ$IPIGXMSR$SJ$XLI$WXEXI$SJ$GEPMJSVRME$XS$HIGPMRI
                         MRXIVZIRXMSR$jmpih$f}$Tpemrxmjj$Xli$Wxexi$sj$Gepmjsvrme2$,ft-$,Irxivih>$4:34<3645<-
  4:3663645<         59$ JMVWX$EQIRHIH$GSQTPEMRX$ekemrwx$Hijirherxw$Jvihivmgo$Hmvfew0$Hsiw0$Wxerjsvh
                         Liepxl$Gevi0$Wxerjsvh$Liepxl$Gevi$Ehzerxeki0$Wxerjsvh$Liepxlgevi$Fmppmrk$Hitevxqirx0
                         Xli$Fsevh$sj$Hmvigxsvw$sj$xli$Pygmpi$Wepxiv$Tegoevh$Glmphvirw$Lswtmxep$ex$Wxerhsvh0$Xli
                         Fsevh$sj$Hmvigxsvw$sj$xli$Wxerjsvh$Liepxl$Gevi0$Xli$Fsevh$sj$Xvywxiiw$sj$Wxerjsvh
                         Yrmzivwmx}0$Xli$Piperh$Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx$eqirhmrk$Gsqtpemrx$1
                         ,Hmwgsziv}-0$5$0$jmpih$f}$Tpemrxmjj$Iqmp}$Vsi,ft-$,Irxivih>$4:36=3645<-
  4:3663645<         5:$ I\LMFMX$XS$GSQTPEMRX$Jmpih$jmpih$f}$Tpemrxmjj$Iqmp}$Vsi2$ew$xs$Eqirhih
                         Gsqtpemrx0$59$2$,Exxeglqirxw>$'$5$Tevx$60$'$6$Tevx$70$'$7$Tevx$80$'$8$Tevx$90$'$9$Tevx$:0$'$:
                         Tevx$;0$'$;$Tevx$<0$'$<$Tevx$=0$'$=$Tevx$54-,ft-$,Irxivih>$4:36=3645<-
  4=3643645<         5;$ WIEPIH$WXEXYW$VITSVX$jmpih$f}$Tpemrxmjj$Yrmxih$Wxexiw$sj$Eqivmge2$,}p-$,Irxivih>
                         4=3683645<-
  543563645<         5<$ RSXMGI$SJ$QSXMSR$ERH$QSXMSR$JSV$GLERKI$SJ$ZIRYI$xs$Rsvxlivr$Hmwxvmgx
                         sj$Gepmjsvrme$Yrmxih$Wxexiw$sj$Eqivmge2$Qsxmsr$wix$jsv$lievmrk$sr$5535=3645<$ex$45>74$TQ
                         fijsvi$Nyhki$Hepi$W2$Jmwgliv2$,Exxsvri}$Jvero$H$Osvxyq$ehhih$xs$tevx}$Yrmxih$Wxexiw$sj
                         Eqivmge,tx}>tpe--$,ft-$,Irxivih>$5435=3645<-
  543753645<         5=$ WIEPIH$WXMTYPEXMSR$jmpih$f}$Tpemrxmjj$Yrmxih$Wxexiw$sj$Eqivmge2,ft-$,Irxivih>
                         5534<3645<-
  553453645<         65$ TVSSJ$SJ$WIVZMGI$jmpih$f}$Tpemrxmjj$Yrmxih$Wxexiw$sj$Eqivmge0$vi$RSXMGI$SJ
                         QSXMSR$ERH$QSXMSR$xs$Glerki$Ziryi$xs$Rsvxliv$Hmwxvmgx$sj$Gepmjsvrme$5<$wivzih$sr
                         5435635<2$,ft-$,Irxivih>$5534<3645<-
  553463645<         64$ SVHIV$GSRXMRYMRK$LIEVMRK$HEXI$SR$QSXMSR$JSV$GLERKI$SJ$ZIRYI$f}
                         Nyhki$Hepi$W2$Jmwgliv0$vi$Wxmtypexmsr$xs$Gsrxmryi$5=$,ft-$,Irxivih>$5534<3645<-
  5536;3645<         66$ WIEPIH$WXMTYPEXMSR$ERH$VIUYIWX$XS$,5-$GSRXMRYI$HEXI$JSV$LIEVMRK
                                                                                                               8         8354
:36:36464 Case 2:17-cv-08726-DSF-AFM
                                   Document    77-1 Filed 06/29/20 Page 10 of 53 Page ID
                                          GQ3IGJ$1$Gepmjsvrme$Girxvep$Hmwxvmgx
                                             #:2819
                   SR$QSXMSR$JSV$GLERKI$SJ$ZIRYI?$ERH$,6-$IWXEFPMWL$HEXI$JSV
                   I\TMVEXMSR$SJ$MRMXMEP$:41HE]$WIEP$TIVMSH$VI$JMVWX$EQIRHIH
                   GSQTPEMRX2,ft-$,Irxivih>$563473645<-
 553743645<    67$ WIEPIH$SVHIV$,5-$GSRXMRYMRK$HEXI$JSV$LIEVMRK$SR$QSXMSR$JSV
                   GLERKI$SJ$ZIRYI?$ERH$,6-$IWXEFPMWLMRK$HEXI$JSV$I\TMVEXMSR$SJ
                   MRMXMEP$:41HE]$WIEP$TIVMSH$VI$JMVWX$EQIRHIH$GSQTPEMRX$SVHIV$f}
                   Nyhki$Hepi$W2$Jmwgliv$,ft-$,Irxivih>$563473645<-
 5636:3645<    68$ WIEPIH$WXMTYPEXMSR$ERH$VIUYIWX$XS$GSRXMRYI$HEXI$JSV$LIEVMRK$SR
                   QSXMSR$JSV$GLERKI$SJ$ZIRYI?$ERH$GSRXMRYI$HEXI$JSV$I\TMVEXMSR$SJ
                   MRMXMEP$:41HE]$WIEP$TIVMSH$VI$JMVWX$EQIRHIH$GSQTPEMRX$jmpih$f}$Yrmxih
                   Wxexiw$sj$Eqivmge2,ft-$,Irxivih>$453463645=-
 5636;3645<    69$ WIEPIH$SVHIV$GSRXMRYMRK$HEXI$JSV$LIEVMRK$SR$QSXMSR$JSV$GLERKI
                   SJ$ZIRYI?$ERH$GSRXMRYMRK$HEXI$JSV$I\TMVEXMSR$SJ$MRMXMEP$:1HE]
                   WIEP$TIVMSH$VI$JMVWX$EQIRHIH$GSQTPEMRX$f}$Nyhki$Hepi$W2$Jmwgliv2$,ft-
                   ,Irxivih>$453463645=-
 4634<3645=    6:$ WIEPIH$WXMTYPEXMSR$ERH$VIUYIWX$XS$,5-$ZEGEXI$HEXI$JSV$LIEVMRK$SR
                   QSXMSR$JSV$GLERKI$SJ$ZIRYI$ERH$HIQ$QSXMSR$[MXLHVE[R$[MXLSYX
                   TVINYHMGI?$ERH$=6-$GSRXMRYI$HEXI$JSV$I\TMVEXMSR$SJ$WIEP$TIVMSH$VI
                   JMVWX$EQIRHIH$GSQTPEMRX2$Pshkih$Pshkih$Tvstswih$Svhiv2$,Exxeglqirxw>$'$5
                   Tvstswih$Svhiv-,ft-$,Irxivih>$463563645=-
 463573645=    6;$ WIEPIH$1$SVHIV$,5-$Zegexmrk$Hexi$jsv$Lievmrk$sr$Qsxmsr$jsv$Glerki$sj$Ziryi$erh
                   Hiiqmrk$Qsxmsr$[mxlhve{r$[mxlsyx$Tvinyhmgi?$erh$,6-$Gsrxmrymrk$Hexi$jsv$I|tmvexmsr$sj
                   Wiep$Tivmsh$Vi$Jmvwx$Eqirhih$Gsqtpemrx$f}$Nyhki$Hepi$W2$Jmwgliv2$,nt-$,Irxivih>
                   463593645=-
 463653645=    6<$ WIEPIH$RSXMGI$SJ$ETTIEVERGI$sj$Ewwmwxerx$Yrmxih$Wxexiw$Exxsvri}$Fvirx$E
                   [lmxxpiwi}2,ft-$,Irxivih>$463693645=-
 463653645=    6=$ WIEPIH$RSXMGI$SJ$ETTIEVERGI$sj$Ewwmwxerx$Yrmxih$Wxexiw$Exxsvri}$sr$filepj$sj
                   Tpemrxmjj$Yrmxih$Wxexiw$sj$Eqivmge2$,ft-$,Irxivih>$463693645=-
 4;35:3645=    74$ RSXMGI$sj$Ipigxmsr$F}$xli$Yrmxih$Wxexiw$xs$Higpmri$Mrxivzirxmsr$erh$Wxmtypexmsr$vi
                   Yrwiepmrk$sj$Gewi$jmpih$f}$tpemrxmjj$Yrmxih$Wxexiw$sj$Eqivmge2$,nt-$Qshmjmih$sr$<363645=
                   ,nt-2$,Irxivih>$4<3463645=-
 4;3743645=    75$ WIEPIH$1$RSXMGI$sj$Ipigxmsr$sj$Xli$Wxexi$sj$Gepmjsvrme$xs$Higpmri$Mrxivzirxmsr$jmpih$f}
                   tpemrxmjj$Xli$Wxexi$sj$Gepmjsvrme2$,nt-$,Irxivih>$4<3463645=-
 4;3743645=    76$ SVHIV$f}$Nyhki$Hepi$W2$Jmwgliv$Vi$Ipigxmsr$f}$xli$Yrmxih$Wxexiw$xs$Higpmri$mrxivzirxmsr
                   erh$YRWIEPMRK$GEWI$74$2$,WII$SVHIV$JSV$WTIGMJMGW-2$,nt-$,Irxivih>
                   4<3463645=-
 553693645=    77$ SVHIV$XS$WLS[$GEYWI$vi$Hmwqmwwep$jsv$Pego$sj$Tvswigyxmsr$f}$Nyhki$Hepi$W2
                   Jmwgliv2$Viwtsrwi$xs$Svhiv$xs$Wls{$Geywi$hyi$f}$563=3645=2$,vjm-$,Irxivih>$553693645=-
 5634:3645=    78$ WYQQSRW$Rs$Jii$Viuymvih$1$YW$Kszivrqirx0$jmpih$f}$Vipexsv$Iqmp}$Vsi2,Nyevi~0
                   Kpsvme-$,Irxivih>$5634:3645=-
 5634:3645=    79$ RSXMGI$SJ$HMWQMWWEP$jmpih$f}$Vipexsv$Iqmp}$Vsi$tyvwyerx$xs$JVGT$85e,5-$5<;5
                   Gpemqw$jsv$Mrwyvergi$Jveyhw$Tvizirxmsr$Egx$,&MJTE&-$ew$xs$Xli$Wxexi$sj$Gepmjsvrme2
                   ,Nyevi~0$Kpsvme-$,Irxivih>$5634:3645=-
 5634:3645=    7:$ VIWTSRWI$jmpih$f}$Tpemrxmjj$Iqmp}$Vsi$jsv$Svhiv$xs$Wls{$Geywi$,Nyevi~0$Kpsvme-
                   ,Irxivih>$5634:3645=-
                                                                                                    9         9354
:36:36464 Case 2:17-cv-08726-DSF-AFM    Document    77-1 Filed 06/29/20 Page 11 of 53 Page ID
                                               GQ3IGJ$1$Gepmjsvrme$Girxvep$Hmwxvmgx
 5634:3645=                                      #:2820
               7;$ Viuyiwx$jsv$Gpivo$xs$Mwwyi$Wyqqsrw$sr$QMWG$1$Sxliv$Qmwgipperisyw$Gewi$78$jmpih$f}
                   Vipexsv$Iqmp}$Vsi2$,Nyevi~0$Kpsvme-$,Irxivih>$5634:3645=-
 5634=3645=    7<$ XI\X$SRP]$IRXV]>$,MR$GLEQFIVW-$SVHIV$f}$Nyhki$Hepi$W2$Jmwgliv>$Xli$Gsyvx0
                   sr$mxw$s{r$qsxmsr0$wixw$e$Wxexyw$Gsrjivirgi$jsv$735:36464$ex$55>44$EQ$fijsvi$Nyhki$Hepi
                   W2$Jmwgliv2$XLIVI$MW$RS$THJ$HSGYQIRX$EWWSGMEXIH$[MXL$XLMW$IRXV]2$,vjm-
                   XI\X$SRP]$IRXV]$,Irxivih>$5634=3645=-
 5634=3645=    7=$ RSXMGI$SJ$HIJMGMIRGMIW$mr$Viuyiwx$xs$Mwwyi$Wyqqsrw$VI>$Wyqqsrw$Viuyiwx$7;$2
                   Xli$jspps{mrk$ivvsv,w-${ew$jsyrh>$Xli$getxmsr$sj$xli$wyqqsrw$qywx$qexgl$xli$getxmsr$sj
                   xli$gsqtpemrx$zivfexmq2$Mj$xli$getxmsr$mw$xss$pevki$xs$jmx$mr$xli$wtegi$tvszmhih0$irxiv$xli
                   reqi$sj$xli$jmvwx$tevx}$erh$xlir${vmxi$&wii$exxeglih2&$Ri|x0$exxegl$e$jegi$teki$sj$xli
                   gsqtpemrx$sv$e$wigsrh$teki$ehhirhyq$xs$xli$Wyqqsrw2$Xli$wyqqsrw$gerrsx$fi$mwwyih
                   yrxmp$xlmw$hijigx$lew$fiir$gsvvigxih2$Tpiewi$gsvvigx$xli$hijigx$erh$vi1jmpi$}syv$viuyiwx2$,nt-
                   ,Irxivih>$5634=3645=-
 563543645=    84$ Viuyiwx$jsv$Gpivo$xs$Mwwyi$Wyqqsrw$sr$Rsxmgi$sj$Hijmgmirg}$mr$Viuyiwx$xs$Mwwyi
                   Wyqqsrw00$7=$0$QMWG$1$Sxliv$Qmwgipperisyw$Gewi$78$jmpih$f}$Vipexsv$Iqmp}$Vsi2$,Nyevi~0
                   Kpsvme-$,Irxivih>$563543645=-
 563563645=    85$ 65$HE]$Wyqqsrw$Mwwyih$vi$Jmvwx$Eqirhih$Gsqtpemrx$59$ew$xs$Hijirherxw$Jvihivmgo
                   Hmvfew0$Wxerjsvh$Liepxl$Gevi0$Wxerjsvh$Liepxl$Gevi$Ehzerxeki0$Wxerjsvh$Liepxlgevi
                   Fmppmrk$Hitevxqirx0$Xli$Fsevh$sj$Hmvigxsvw$sj$xli$Pygmpi$Wepxiv$Tegoevh$Glmphvirw
                   Lswtmxep$ex$Wxerhsvh0$Xli$Fsevh$sj$Hmvigxsvw$sj$xli$Wxerjsvh$Liepxl$Gevi0$Xli$Fsevh$sj
                   Xvywxiiw$sj$Wxerjsvh$Yrmzivwmx}0$Xli$Piperh$Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx2$,psq-
                   ,Irxivih>$563563645=-
 4534;36464    86$ RSXMGI$SJ$QSXMSR$ERH$QSXMSR$xs$Hmwqmww$Gewi$jmpih$f}$Hijirherxw$Wxerjsvh
                   Liepxl$Gevi0$Wxerjsvh$Liepxl$Gevi$Ehzerxeki0$Xli$Piperh$Nyrmsv$Yrmzivwmx}0$Hifve
                   ^yq{epx2$Qsxmsr$wix$jsv$lievmrk$sr$635436464$ex$45>74$TQ$fijsvi$Nyhki$Hepi$W2$Jmwgliv2
                   ,Exxeglqirxw>$'$5$Qiqsverhyq$sj$Tsmrxw$erh$Eyxlsvmxmiw0$'$6$Tvstswih$Svhiv-$,Exxsvri}
                   Omqfivp}$Omwefixl$Gliqivmrwo}$ehhih$xs$tevx}$Wxerjsvh$Liepxl$Gevi$,tx}>hjx-0$Exxsvri}
                   Omqfivp}$Omwefixl$Gliqivmrwo}$ehhih$xs$tevx}$Wxerjsvh$Liepxl$Gevi$Ehzerxeki,tx}>hjx-0
                   Exxsvri}$Omqfivp}$Omwefixl$Gliqivmrwo}$ehhih$xs$tevx}$Xli$Piperh$Nyrmsv$Yrmzivwmx}
                   ,tx}>hjx-0$Exxsvri}$Omqfivp}$Omwefixl$Gliqivmrwo}$ehhih$xs$tevx}$Hifve
                   ^yq{epx,tx}>hjx--$,Gliqivmrwo}0$Omqfivp}-$,Irxivih>$4534;36464-
 4534;36464    87$ RSXMGI$sj$Mrxiviwxih$Tevxmiw$jmpih$f}$Hijirherxw$Wxerjsvh$Liepxl$Gevi0$Wxerjsvh$Liepxl
                   Gevi$Ehzerxeki0$Xli$Piperh$Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx0$,Gliqivmrwo}0$Omqfivp}-
                   ,Irxivih>$4534;36464-
 4534;36464    88$ ETTPMGEXMSR$sj$Rsr1Viwmhirx$Exxsvri}$Jvero$I2$Wliihiv$MMM$xs$Ettiev$Tvs$Leg$Zmgi
                   sr$filepj$sj$Hijirherxw$Wxerjsvh$Liepxl$Gevi0$Wxerjsvh$Liepxl$Gevi$Ehzerxeki0$Xli
                   Piperh$Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx$,Tvs$Leg$Zmgi$Jii$1$(844$Jii$Temh0$Vigimtx$Rs2
                   4=;71694;75<8-$jmpih$f}$Hijirherxw$Wxerjsvh$Liepxl$Gevi0$Wxerjsvh$Liepxl$Gevi
                   Ehzerxeki0$Xli$Piperh$Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx2$,Exxeglqirxw>$'$5$Tvstswih
                   Svhiv-$,Gliqivmrwo}0$Omqfivp}-$,Irxivih>$4534;36464-
 4534;36464    89$ GIVXMJMGEXI$SJ$WIVZMGI$jmpih$f}$Hijirherxw$Wxerjsvh$Liepxl$Gevi0$Wxerjsvh$Liepxl
                   Gevi$Ehzerxeki0$Xli$Piperh$Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx0$vi$RSXMGI$SJ$QSXMSR
                   ERH$QSXMSR$xs$Hmwqmww$Gewi$86$0$Givxmjmgexi3Rsxmgi$sj$Mrxiviwxih$Tevxmiw$87$0
                   ETTPMGEXMSR$sj$Rsr1Viwmhirx$Exxsvri}$Jvero$I2$Wliihiv$MMM$xs$Ettiev$Tvs$Leg$Zmgi
                   sr$filepj$sj$Hijirherxw$Wxerjsvh$Liepxl$Gevi0$Wxerjsvh$Liepxl$Gevi$Ehzerxeki0$Xli
                   Piperh$Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx$,Tvs$Leg$Zmgi$Jii$1$(844$Jii$Temh0$Vigimtx$88
                   wivzih$sr$Neryev}$;0$64642$,Gliqivmrwo}0$Omqfivp}-$,Irxivih>$4534;36464-
 4534;36464    8:$ TVSSJ$SJ$WIVZMGI$I|igyxih$f}$Vipexsv$Iqmp}$Vsi0$ytsr$Hijirherx$Wxerjsvh$Liepxl

                                                                                                       10           :354
:36:36464 Case 2:17-cv-08726-DSF-AFM   Document     77-1 Filed 06/29/20 Page 12 of 53 Page ID
                                              GQ3IGJ$1$Gepmjsvrme$Girxvep$Hmwxvmgx
                                                 #:2821
                   Gevi$Ehzerxeki$wivzih$sr$563643645=0$erw{iv$hyi$5354364642$Wivzmgi$sj$xli$Wyqqsrw
                   erh$Gsqtpemrx${ivi$i|igyxih$ytsr$Oefes$Qsye$ex$Sjjmgi$sj$xli$Kirivep$gsyrwip$mr
                   gsqtpmergi${mxl$Jihivep$Vypiw$sj$Gmzmp$Tvsgihyvi$f}$tivwsrep$wivzmgi2Svmkmrep$Wyqqsrw
                   RSX$vixyvrih2$,Nyevi~0$Kpsvme-$,Irxivih>$4534;36464-
 4534;36464    8;$ TVSSJ$SJ$WIVZMGI$I|igyxih$f}$Vipexsv$Iqmp}$Vsi0$ytsr$Hijirherx$Wxerjsvh$Liepxl
                   Gevi$wivzih$sr$5635;3645=0$erw{iv$hyi$53;364642$Wivzmgi$sj$xli$Wyqqsrw$erh$Gsqtpemrx
                   {ivi$i|igyxih$ytsr$Oefes$Qsye$jsv$Hifve$^yq{epx$ex$Sjjmgi$sj$xli$Kirivep$Gsyrwip$mr
                   gsqtpmergi${mxl$Jihivep$Vypiw$sj$Gmzmp$Tvsgihyvi$f}$tivwsrep$wivzmgi2Svmkmrep$Wyqqsrw
                   RSX$vixyvrih2$,Nyevi~0$Kpsvme-$,Irxivih>$4534;36464-
 4534<36464    8<$ SVHIV$f}$Nyhki$Hepi$W2$Jmwgliv>$kverxmrk$88$Rsr1Viwmhirx$Exxsvri}$Jvero$I$Wliihiv0
                   MMM$ETTPMGEXMSR$xs$Ettiev$Tvs$Leg$Zmgi$sr$filepj$sj$Hijirherxw$Wxerjsvh$Liepxl$Gevi0
                   Wxerjsvh$Liepxl$Gevi$Ehzerxeki0$Xli$Piperh$Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx0
                   hiwmkrexmrk$Omqfivp}$O$Gliqivmrow}$ew$psgep$gsyrwip2$,nt-$,Irxivih>$4534<36464-
 4535<36464    8=$ STTSWMXMSR$xs$RSXMGI$SJ$QSXMSR$ERH$QSXMSR$xs$Hmwqmww$Gewi$86$jmpih$f}
                   Tpemrxmjj$Iqmp}$Vsi2$,Exxeglqirxw>$'$5$I|lmfmx$PSHKQIRX$SJ$I\LMFMXW$MR
                   WYTTSVX$SJ$VIWTSRWI$MR$STTSWMXMSR$XS$HIJIRHERXW+$QSXMSR$XS
                   HMWQMWW-,Nyevi~0$Kpsvme-$,Irxivih>$4535<36464-
 4536536464    94$ WXEXIQIRX$Sj$Mrxiviwx$Sj$Xli$Yrmxih$Wxexiw$Vikevhmrk$Hijirherxw+$Qsxmsr$Xs$Hmwqmww
                   jmpih$f}$Tpemrxmjj$Yrmxih$Wxexiw$sj$Eqivmge$,Exxeglqirxw>$'$5$Tvssj$sj$Wivzmgi-,Osvxyq0
                   Jvero-$,Irxivih>$4536536464-
 4536:36464    95$ RSXMGI$sj$Glerki$sj$sxliv$jmvq$reqi$sv$ehhviww$mrjsvqexmsr$f}$Kpsvme$Q$Nyevi~
                   exxsvri}$jsv$Tpemrxmjj$Iqmp}$Vsi2$Glerkmrk$Iqemp$KpsvmeDxliKNPe{2gsq2$Jmpih$f}
                   Tpemrxmjj$Iqmp}$Vsi2$,Nyevi~0$Kpsvme-$,Irxivih>$4536:36464-
 4536;36464    96$ VIWTSRWI$MR$WYTTSVX$sj$RSXMGI$SJ$QSXMSR$ERH$QSXMSR$xs$Hmwqmww$Gewi$86
                   jmpih$f}$Hijirherxw$Wxerjsvh$Liepxl$Gevi0$Wxerjsvh$Liepxl$Gevi$Ehzerxeki0$Xli$Piperh
                   Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx2$,Exxeglqirxw>$'$5$Higpevexmsr$sj$Jvero$I2$Wliihiv$MMM0
                   '$6$Izmhirxmev}$Sfnigxmsrw0$'$7$Tvstswih$Svhiv-,Wliihiv0$Jvero-$,Irxivih>$4536;36464-
 4537536464    97$ IZMHIRXMEV]$SFNIGXMSRW$xs$Hijirherxw+$Vitp}$erh$Higpevexmsr$sj$Tvs$Leg$Zmgi
                   exxsvri}$Jvero$Wliihiv$vi>$RSXMGI$SJ$QSXMSR$ERH$QSXMSR$xs$Hmwqmww$Gewi$86
                   jmpih$f}$Tpemrxmjj$Iqmp}$Vsi2$,Nyevi~0$Kpsvme-$,Irxivih>$4537536464-
 4634836464    98$ SVHIV$f}$Nyhki$Hepi$W2$Jmwgliv$KVERXMRK$QSXMSR$xs$Hmwqmww$86$2$Xli$JEG$mw
                   hmwqmwwih${mxlsyx$tvinyhmgi$erh${mxl$piezi$xs$eqirh$gsrwmwxirx${mxl$xlmw$Svhiv2$Er
                   eqirhih$gsqtpemrx$qywx$fi$jmpih$erh$wivzih$rs$pexiv$xler$736364642$,nt-$,Irxivih>
                   4634836464-
 4734636464    99$ WIGSRH$EQIRHIH$GSQTPEMRX$ekemrwx$Vipexsv$Epp$Hijirherxw$eqirhmrk$Eqirhih
                   Gsqtpemrx0$59$0$jmpih$f}$Vipexsv$Iqmp}$Vsi$,Exxeglqirxw>$'$5$I|lmfmx$Pshkqirx$sj
                   I|lmfmxw$xs$WEG-,Nyevi~0$Kpsvme-$,Irxivih>$4734636464-
 4735536464    9:$ XI\X$SRP]$IRXV]>$,MR$GLEQFIVW-$SVHIV$f}$Nyhki$Hepi$W2$Jmwgliv>$Xli$Gsyvx
                   ZEGEXIW$xli$Wxexyw$Gsrjivirgi$wix$jsv$Qsrhe}0$Qevgl$5:0$64642$Rs$ettievergiw${mpp$fi
                   viuymvih2$XLIVI$MW$RS$THJ$HSGYQIRX$EWWSGMEXIH$[MXL$XLMW$IRXV]2$,vjm-
                   XI\X$SRP]$IRXV]$,Irxivih>$4735536464-
 4735536464    9;$ TVSSJ$SJ$WIVZMGI$I|igyxih$f}$Tpemrxmjj$Iqmp}$Vsi0$ytsr$Hijirherx$Hifve$^yq{epx
                   wivzih$sr$5364364640$erw{iv$hyi$6354364642$Wivzmgi$sj$xli$Wyqqsrw$erh$Gsqtpemrx${ivi
                   i|igyxih$ytsr$Hifve$^yq{epx$mr$gsqtpmergi${mxl$Jihivep$Vypiw$sj$Gmzmp$Tvsgihyvi$f}
                   tivwsrep$wivzmgi2Svmkmrep$Wyqqsrw$vixyvrih2$,Nyevi~0$Kpsvme-$,Irxivih>$4735536464-
 4735536464    9<$ TVSSJ$SJ$WIVZMGI$I|igyxih$f}$Tpemrxmjj$Iqmp}$Vsi0$ytsr$Hijirherx$Hmvfew$Jvihivmgo
                   wivzih$sr$536;364640$erw{iv$hyi$635<364642$Wivzmgi$sj$xli$Wyqqsrw$erh$Gsqtpemrx${ivi
                                                                                                 11        ;354
:36:36464 Case 2:17-cv-08726-DSF-AFM    Document    77-1 Filed 06/29/20 Page 13 of 53 Page ID
                                               GQ3IGJ$1$Gepmjsvrme$Girxvep$Hmwxvmgx
                                                 #:2822
                   i|igyxih$ytsr$Zivsrmge$Vsgle1$Vigitxmsrmwx$xs$Hv2$Hmvfew$mr$gsqtpmergi${mxl$Jihivep
                   Vypiw$sj$Gmzmp$Tvsgihyvi$f}$tivwsrep$wivzmgi2Svmkmrep$Wyqqsrw$vixyvrih2$,Nyevi~0$Kpsvme-
                   ,Irxivih>$4735536464-
 4735536464    9=$ TVSSJ$SJ$WIVZMGI$I|igyxih$f}$Tpemrxmjj$Iqmp}$Vsi0$ytsr$Hijirherx$Xli$Fsevh$sj
                   Hmvigxsvw$sj$xli$Wxerjsvh$Liepxl$Gevi$wivzih$sr$53:364640$erw{iv$hyi$536;364642$Wivzmgi
                   sj$xli$Wyqqsrw$erh$Gsqtpemrx${ivi$i|igyxih$ytsr$Oefes$Qsye$jsv$Hifve$^yq{epx$ex
                   Sjjmgi$sj$xli$Kirivep$Gsyrwip$mr$gsqtpmergi${mxl$Jihivep$Vypiw$sj$Gmzmp$Tvsgihyvi$f}
                   wyfwxmxyxih$wivzmgi$ex$fywmriww$ehhviww$erh$f}$epws$qempmrk$e$gst}2Svmkmrep$Wyqqsrw
                   vixyvrih2$,Nyevi~0$Kpsvme-$,Irxivih>$4735536464-
 4735536464    :4$ TVSSJ$SJ$WIVZMGI$I|igyxih$f}$Tpemrxmjj$Iqmp}$Vsi0$ytsr$Hijirherx$Xli$Fsevh$sj
                   Xvywxiiw$sj$Wxerjsvh$Yrmzivwmx}$wivzih$sr$53:364640$erw{iv$hyi$536;364642$Wivzmgi$sj$xli
                   Wyqqsrw$erh$Gsqtpemrx${ivi$i|igyxih$ytsr$Oefes$Qsye$jsv$Hifve$^yq{epx$ex$Sjjmgi
                   sj$xli$Kirivep$Gsyrwip$mr$gsqtpmergi${mxl$Jihivep$Vypiw$sj$Gmzmp$Tvsgihyvi$f}$wyfwxmxyxih
                   wivzmgi$ex$fywmriww$ehhviww$erh$f}$epws$qempmrk$e$gst}2Svmkmrep$Wyqqsrw$vixyvrih2
                   ,Nyevi~0$Kpsvme-$,Irxivih>$4735536464-
 4735536464    :5$ TVSSJ$SJ$WIVZMGI$I|igyxih$f}$Tpemrxmjj$Iqmp}$Vsi0$ytsr$Hijirherx$Xli$Fsevh$sj
                   Hmvigxsvw$sj$xli$Pygmpi$Wepxiv$Tegoevh$Glmphvirw$Lswtmxep$ex$Wxerhsvh$wivzih$sr$53:364640
                   erw{iv$hyi$536;364642$Wivzmgi$sj$xli$Wyqqsrw$erh$Gsqtpemrx${ivi$i|igyxih$ytsr$Oefes
                   Qsye$jsv$Hifve$^yq{epx$ex$Sjjmgi$sj$xli$Kirivep$Gsyrwip$mr$gsqtpmergi${mxl$Jihivep
                   Vypiw$sj$Gmzmp$Tvsgihyvi$f}$wyfwxmxyxih$wivzmgi$ex$fywmriww$ehhviww$erh$f}$epws$qempmrk$e
                   gst}2Svmkmrep$Wyqqsrw$vixyvrih2$,Nyevi~0$Kpsvme-$,Irxivih>$4735536464-
 4735536464    :6$ TVSSJ$SJ$WIVZMGI$I|igyxih$f}$Hijirherx$Iqmp}$Vsi0$ytsr$Hijirherx$Wxerjsvh
                   Liepxlgevi$Fmppmrk$Hitevxqirx$wivzih$sr$53:364640$erw{iv$hyi$536;364642$Wivzmgi$sj$xli
                   Wyqqsrw$erh$Gsqtpemrx${ivi$i|igyxih$ytsr$Oefes$Qsye$jsv$Hifve$^yq{epx$ex$Sjjmgi
                   sj$xli$Kirivep$Gsyrwip$mr$gsqtpmergi${mxl$Jihivep$Vypiw$sj$Gmzmp$Tvsgihyvi$f}$wyfwxmxyxih
                   wivzmgi$ex$fywmriww$ehhviww$erh$f}$epws$qempmrk$e$gst}2Svmkmrep$Wyqqsrw$vixyvrih2
                   ,Nyevi~0$Kpsvme-$,Irxivih>$4735536464-
 4737436464    :7$ RSXMGI$SJ$QSXMSR$ERH$QSXMSR$xs$Hmwqmww$Gewi$erh$Wxvmoi$Wigsrh$Eqirhih
                   Gsqtpemrx$jmpih$f}$Hijirherxw$Jvihivmgo$Hmvfew0$Wxerjsvh$Liepxl$Gevi0$Wxerjsvh$Liepxl
                   Gevi$Ehzerxeki0$Xli$Piperh$Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx2$Qsxmsr$wix$jsv$lievmrk$sr
                   93836464$ex$45>74$TQ$fijsvi$Nyhki$Hepi$W2$Jmwgliv2$,Exxeglqirxw>$'$5$Qiqsverhyq$sj
                   Tsmrxw$erh$Eyxlsvmxmiw0$'$6$Higpevexmsr$sj$Jvero$I2$Wliihiv$MMM0$'$7$Higpevexmsr$sj
                   Jvihivmgo$Hmvfew0$'$8$Tvstswih$Svhiv-$,Exxsvri}$Omqfivp}$Omwefixl$Gliqivmrwo}$ehhih
                   xs$tevx}$Jvihivmgo$Hmvfew,tx}>hjx--$,Gliqivmrwo}0$Omqfivp}-$,Irxivih>$4737436464-
 4737436464    :8$ RSXMGI$SJ$QSXMSR$ERH$QSXMSR$xs$Hmwqmww$Gewi$Tyvwyerx$xs$Jihivep$Vypi$sj$Gmzmp
                   Tvsgihyvi$54,e-$jmpih$f}$Hijirherxw$Jvihivmgo$Hmvfew0$Wxerjsvh$Liepxl$Gevi0$Wxerjsvh
                   Liepxl$Gevi$Ehzerxeki0$Xli$Piperh$Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx2$Qsxmsr$wix$jsv
                   lievmrk$sr$93836464$ex$45>74$TQ$fijsvi$Nyhki$Hepi$W2$Jmwgliv2$,Exxeglqirxw>$'$5
                   Qiqsverhyq$sj$Tsmrxw$erh$Eyxlsvmxmiw0$'$6$Tvstswih$Svhiv-$,Gliqivmrwo}0$Omqfivp}-
                   ,Irxivih>$4737436464-
 4834=36464    :9$ WXMTYPEXMSR$xs$Gsrxmryi$Lievmrkw$sr$Qszmrk$Hijirherxw+$Qsxmsrw$xs$Hmwqmww$erh
                   Wxvmoi$Wigsrh$Eqirhih$Gsqtpemrx$jvsq$Qe}$80$6464$xs$Nyp}$570$6464$Vi>$RSXMGI$SJ
                   QSXMSR$ERH$QSXMSR$xs$Hmwqmww$Gewi$erh$Wxvmoi$Wigsrh$Eqirhih$Gsqtpemrx$:7$0
                   RSXMGI$SJ$QSXMSR$ERH$QSXMSR$xs$Hmwqmww$Gewi$Tyvwyerx$xs$Jihivep$Vypi$sj$Gmzmp
                   Tvsgihyvi$54,e-$:8$jmpih$f}$Hijirherxw$Jvihivmgo$Hmvfew0$Wxerjsvh$Liepxl$Gevi0$Wxerjsvh
                   Liepxl$Gevi$Ehzerxeki0$Xli$Piperh$Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx2$,Exxeglqirxw>$'$5
                   Higpevexmsr$sj$Jvero$I2$Wliihiv$MMM0$'$6$Tvstswih$Svhiv-,Exxsvri}$Jvero$I$Wliihiv0$MMM
                   ehhih$xs$tevx}$Jvihivmgo$Hmvfew,tx}>hjx--,Wliihiv0$Jvero-$,Irxivih>$4834=36464-
 4834=36464    ::$ SVHIV$f}$Nyhki$Hepi$W2$Jmwgliv$KVERXMRK$Xli$Tevxmiw+$Wxmtypexmsr$xs$Gsrxmryi$:9
                                                                                                 12          <354
:36:36464 Case 2:17-cv-08726-DSF-AFM    Document    77-1 Filed 06/29/20 Page 14 of 53 Page ID
                                               GQ3IGJ$1$Gepmjsvrme$Girxvep$Hmwxvmgx
                                                 #:2823
                   Lievmrkw$sr$Qszmrk$Hijirherxw$Qsxmsrw$xs$Hmwqmww$erh$Wxvmoi$Wigsrh$Eqirhih
                   Gsqtpemrx$:7$0$:8$xs$;35736464$ex$45>74$TQ2$,Wii$svhiv$jsv$wtigmjmgw-2$,nt-$,Irxivih>
                   4834=36464-
 4936;36464    :;$ STTSWMXMSR$xs$RSXMGI$SJ$QSXMSR$ERH$QSXMSR$xs$Hmwqmww$Gewi$erh$Wxvmoi
                   Wigsrh$Eqirhih$Gsqtpemrx$:7$jmpih$f}$Tpemrxmjj$Iqmp}$Vsi2$,Exxeglqirxw>$'$5
                   Higpevexmsr$Higp2$Nyevi~$mr$Wyttsvx$sj$Sttswmxmsr$xs$Qsxmsr$xs$Hmwqmww-,Nyevi~0$Kpsvme-
                   ,Irxivih>$4936;36464-
 4936;36464    :<$ STTSWMXMSR$STTSWMXMSR$vi>$RSXMGI$SJ$QSXMSR$ERH$QSXMSR$xs$Hmwqmww$Gewi
                   Tyvwyerx$xs$Jihivep$Vypi$sj$Gmzmp$Tvsgihyvi$54,e-$:8$jmpih$f}$Tpemrxmjj$Iqmp}$Vsi2
                   ,Exxeglqirxw>$'$5$Higpevexmsr$Higpevexmsr$sj$Kpsvme$Nyevi~$mr$Wyttsvx$sj$Sttswmxmsr$xs
                   Hijirherx+w$Xlmvh$Qsxmsr$xs$Hmwqmww-,Nyevi~0$Kpsvme-$,Irxivih>$4936;36464-
 4936=36464    :=$ RSXMGI$SJ$QSXMSR$ERH$QSXMSR$jsv$Svhiv$jsv$GSWXW$SJ$WIVZMGI$ERH$JIIW
                   TYVWYERX$XS$JIH2$V2$GMZ2$T2$VYPI$8,h-,6-$jmpih$f}$Vipexsv$Iqmp}$Vsi2$Qsxmsr$wix
                   jsv$lievmrk$sr$;35736464$ex$45>74$TQ$fijsvi$Nyhki$Hepi$W2$Jmwgliv2$,Exxeglqirxw>$'$5
                   Qiqsverhyq$QSXMSR$JSV$GSWXW$SJ$WIVZMGI$ERH$EXXSVRI]$JIIW
                   TYVWYERX$XS$JIH2$V2$GMZ2$T2$VYPI$8,h-,6-0$'$6$Higpevexmsr$Kpsvme$Nyevi~$mr$Wyttsvx
                   sj$Qsxmsr$jsv$Gswxw$sj$Wivzmgi-$,Nyevi~0$Kpsvme-$,Irxivih>$4936=36464-
 4936=36464    ;4$ WXEXIQIRX$Mrxiviwx$jmpih$f}$Tpemrxmjj$Yrmxih$Wxexiw$sj$Eqivmge$Wxexiqirx$sj$Mrxiviwx$sj
                   xli$Yrmxih$Wxexiw$Vikevhmrk$Hijirhervw+$vi>$RSXMGI$SJ$QSXMSR$ERH$QSXMSR$xs
                   Hmwqmww$Gewi$Tyvwyerx$xs$Jihivep$Vypi$sj$Gmzmp$Tvsgihyvi$54,e-$:8$2$,Osvxyq0$Jvero-
                   ,Irxivih>$4936=36464-
 4936=36464    ;5$ WXEXIQIRX$Mrxiviwx$jmpih$f}$Tpemrxmjj$Yrmxih$Wxexiw$sj$Eqivmge$vi>$RSXMGI$SJ
                   QSXMSR$ERH$QSXMSR$xs$Hmwqmww$Gewi$erh$Wxvmoi$Wigsrh$Eqirhih$Gsqtpemrx$:7$2
                   ,Osvxyq0$Jvero-$,Irxivih>$4936=36464-
 4:36636464    ;6$ WXMTYPEXMSR$Jmpi$IGJ$Rs2$:815$,Vijmpi$e$Vihegxih$Gst}0$erh$Qemrxemr$xli$Gyvvirx
                   Fvmijmrk$erh$Lievmrk$Wglihypi-$Yrhiv$Wiep$jmpih$f}$Hijirherxw$Jvihivmgo$Hmvfew0
                   Wxerjsvh$Liepxl$Gevi0$Wxerjsvh$Liepxl$Gevi$Ehzerxeki0$Xli$Piperh$Nyrmsv$Yrmzivwmx}0
                   Hifve$^yq{epx2$,Exxeglqirxw>$'$5$Higpevexmsr$sj$Jvero$I2$Wliihiv$MMM0$'$6$Tvstswih
                   Svhiv-,Wliihiv0$Jvero-$,Irxivih>$4:36636464-
 4:36636464    ;7$ STTSWMXMSR$xs$RSXMGI$SJ$QSXMSR$ERH$QSXMSR$jsv$Svhiv$jsv$GSWXW$SJ
                   WIVZMGI$ERH$JIIW$TYVWYERX$XS$JIH2$V2$GMZ2$T2$VYPI$8,h-,6-$:=$jmpih$f}
                   Hijirherxw$Jvihivmgo$Hmvfew0$Wxerjsvh$Liepxl$Gevi0$Wxerjsvh$Liepxl$Gevi$Ehzerxeki0$Xli
                   Piperh$Nyrmsv$Yrmzivwmx}0$Hifve$^yq{epx2$,Exxeglqirxw>$'$5$Higpevexmsr$sj$Jvero$I2
                   Wliihiv$MMM-,Wliihiv0$Jvero-$,Irxivih>$4:36636464-
 4:36636464    ;8$ XI\X$SRP]$IRXV]>$,MR$GLEQFIVW-$SVHIV$f}$Nyhki$Hepi$W2$Jmwgliv>$Xli
                   wxmtypexih$viuyiwx$xs$wiep$mw$HIRMIH$figeywi$xli$tevxmiw$lezi$qehi$rs$exxiqtx$xs$nywxmj}
                   xli$tvstswih$wiepmrk2$Wii$Girxiv$jsv$Eyxs$Wejix}$z2$Glv}wpiv$Kvt20$PPG0$<4=$J27h$54=6
                   ,=xl$Gmv2$645:-$,gsqtippmrk$viewsrw$viuymvih$xs$wiep$qexivmep$vipexih$xs$qsxmsrw$qsvi$xler
                   xerkirxmepp}$gsrrigxih$xs$xli$qivmxw-2$;6$XLIVI$MW$RS$THJ$HSGYQIRX
                   EWWSGMEXIH$[MXL$XLMW$IRXV]2$,vjm-$XI\X$SRP]$IRXV]$,Irxivih>$4:36636464-



                                        TEGIV$Wivzmgi$Girxiv
                                            Xverwegxmsr$Vigimtx
                                                4:36:36464$49>7=>4<
                        TEGIV                   Gpmirx
                                   epwxsrfmvh
                        Pskmr>                  Gshi>

                                                                                                   13           =354
:36:36464 Case 2:17-cv-08726-DSF-AFM     Document   77-1 Filed 06/29/20 Page 15 of 53 Page ID
                                               GQ3IGJ$1$Gepmjsvrme$Girxvep$Hmwxvmgx
                       Hiwgvmtxmsr> Hsgoix  Wievgl#:28246>5;1gz14<;6:1HWJ1EJQ$Irh
                                    Vitsvx   Gvmxivme>   hexi>$:36:36464
                       Fmppefpi
                                   =         Gswx>       42=4
                       Tekiw>




                                                                                         14     54354
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 16 of 53 Page ID
                                 #:2825




                                Exhibit B
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 17 of 53 Page ID
                                 #:2826
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 18 of 53 Page ID
                                 #:2827
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 19 of 53 Page ID
                                 #:2828
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 20 of 53 Page ID
                                 #:2829
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 21 of 53 Page ID
                                 #:2830
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 22 of 53 Page ID
                                 #:2831
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 23 of 53 Page ID
                                 #:2832




                                Exhibit C
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 24 of 53 Page ID
                                 #:2833
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 25 of 53 Page ID
                                 #:2834
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 26 of 53 Page ID
                                 #:2835
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 27 of 53 Page ID
                                 #:2836
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 28 of 53 Page ID
                                 #:2837
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 29 of 53 Page ID
                                 #:2838
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 30 of 53 Page ID
                                 #:2839




                                Exhibit D
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 31 of 53 Page ID
                                 #:2840
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 32 of 53 Page ID
                                 #:2841




                                Exhibit E
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 33 of 53 Page ID
                                 #:2842
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 34 of 53 Page ID
                                 #:2843
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 35 of 53 Page ID
                                 #:2844




                                Exhibit F
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 36 of 53 Page ID
                                 #:2845
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 37 of 53 Page ID
                                 #:2846
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 38 of 53 Page ID
                                 #:2847




                                Exhibit G
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 39 of 53 Page ID
                                 #:2848
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 40 of 53 Page ID
                                 #:2849
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 41 of 53 Page ID
                                 #:2850




                                Exhibit H
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 42 of 53 Page ID
                                 #:2851
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 43 of 53 Page ID
                                 #:2852
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 44 of 53 Page ID
                                 #:2853




                                Exhibit I
 Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 45 of 53 Page ID
                                  #:2854


    Doc ID      Original Rec'd                      Subject                          Status            Request Category                     Organization
030120177006   03/02/2017      Volumes I, II, and III of the winning IDIQ and Open            Contracts / Grants / Cooperative    Improving Healthcare for the
                               Task Order proposals submitted in Response to                  Agreements                          Common Good
                               RFP #HHSM-500-2014-RFP-QIN-QIO (due
                               date February 21, 2014)
030120177009   03/08/2017      Contract, including amendments for Business       Closed       Contracts / Grants / Cooperative    HIMSS Analytics
                               Intelligence Solution, number: 5400011337;                     Agreements
                               Contract, including amendments for Pharmacy
                               Benefits Administration Services (PBA),
                               number: 5400011605
030120177022   03/03/2017      2017 statewide DME fee schedule amounts, on Open               CMS Data                            McDermott Will & Emery LLP.
                               pgs. 12-13 of Jan 12, 2017 CMS ruling:
                               “Classification of Therapeutic Continuous
                               Glucose Monitors as Durable Medical
                               Equipment under Medicare Part B” (CMS-1682-
                               R)
030120177040   03/29/2017      Historical trend of shared risk percentage of     Closed       Provider Information (Non-survey-
                               total health spent by Medicare, Medicaid and                   related)
                               commercial insurance companies
030120177042   03/02/2017      Transcript of 2/27/17 Marketplace Call            Closed       Marketplace                         self
030120177055   03/01/2017      Results of any and all investigations, inquiries, Closed       Provider Information (Non-survey-
                               etc. conducted - Medicare billing activities of                related)
                               David M. Harrison
030120177064   03/02/2017      CMS COB R report # RMCAN-5-5 (contractor Closed                Contracts / Grants / Cooperative
                               NGHP)                                                          Agreements
030120177070   03/02/2017      Medicare cost reports for Hollywood               Closed       Medicare Cost Reports               Balisok & Associates, Inc
                               Presbyterian Med Center, 1300 N. Vermont
                               Ave, Los Angeles CA, from 2005 to present.
030120177081   03/01/2017      5 Florida facilities                              Closed       Medicare Cost Reports               Kasowitz, Benson, Torres &
                                                                                                                                  Friedman, LLP
03012017C062   03/29/2017        [Records Review] renees health and rehab       Closed        Medicare Cost Reports               pitman kalkhoff sicula and dentice
                                 center 2012-2016 home office and cost reports
                                 CERT
03012017C064   03/28/2017        CPT Codes 93050 and 0311T                      Closed        Payment Coding Information          parrish law offices
030220177033   03/02/2017        {Duplicate} MEDIA:Communication between Closed               Corr / Congressional Comm / CMS     Washington Examiner
                                 executives/attorneys for Aetna, Anthem, Cigna,               Employee Emails
                                 Humana, United Health; and the following HHS
                                 officials: Sec. Burwell and individuals in the
                                 Office of the Secretary; Administrator Slavitt
                                 and individuals in CCIIO
030220177037   03/02/2017        Bayfront Health Port Charlotte                 Closed        Medicare Cost Reports
030220177041   03/06/2017        Rennes Health & Rehab Center - DePere          Closed        Provider Information (Non-survey-   Pitman Kalkhoff, Sicula & Dentice,
                                                                                              related)                            S.C.
030220177043   03/02/2017        HHSM-500-2017-00005C with CMS and                 Closed     Contracts / Grants / Cooperative    The Carolinas Center for Medical
                                 Georgia Medical Care Foundation (GMCF) for                   Agreements                          Excelle
                                 FL, GA, NC, and SC
030220177046   03/02/2017        HHSM5002014QIN0141 for Virginia Health            Closed     Contracts / Grants / Cooperative    Delmarva Foundation for Medical
                                 Quality Center. I would also like to receive a               Agreements                          Care
                                 copy of the vendor's response to RFP No.
                                 HHSM5002014RFPQINQIO
030220177052   03/06/2017        Documents related to the Medicare requirement     Open       Provider Information (Non-survey-   Baker, Donelson, Bearman,
                                 applicable to providers                                      related)                            Caldwell, & Be
030220177053   03/02/2017        Haines City Health Care                           Closed     Medicare Cost Reports
030220177054   03/02/2017        Manorcare Health Services Sarasota                Closed     Medicare Cost Reports
030220177056   03/02/2017        SIGNATURE HEALTHCARE OF                           Closed     Medicare Cost Reports
                                 GAINESVILLE
030220177059   03/02/2017        HEARTLAND HEALTH CARE CENTER -                    Closed     Medicare Cost Reports
                                 NORTH SARASOTA
030220177071   03/02/2017        Allied Ankle & Footcare Centers                   Open       Provider Information (Non-survey-   Parsons Behle & Latimer
                                                                                              related)
030220177078   03/02/2017        08-CR-20270-FAM                                   Closed     Provider Information (Non-survey-
                                                                                              related)
030320177001   03/01/2017        Access to a letter and all attachments btwn Ms.   Closed     Corr / Congressional Comm / CMS     Turner Boyd
                                 Judy Giles & Douglas G. Cave                                 Employee Emails
030320177002   03/14/2017        Ideal Option, PLLC Group Contracts                Closed     Contracts / Grants / Cooperative    Ideal Option, PLLC
                                                                                              Agreements
030320177008   03/09/2017        Medicare Cost Reports: Carroll Health Center - Closed        Medicare Cost Reports               The Dickson Firm
                                 Medicare Provider Number: 36-5579
030320177020   03/14/2017        List of all Outpatient Surgery Centers         Closed        Provider Information (Non-survey-   Picis ASC
                                                                                              related)
030320177025   03/09/2017        Outstanding appeals before the Provider           Closed     Provider Information (Non-survey-   Quality Reimbursement Services,
                                 Reimbursement Review Board                                   related)                            Inc.
030320177026   03/03/2017        Requesting digital/electronic copies of           Closed     CMS Data                            self
                                 CMS.hhs.gov guides
 Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 46 of 53 Page ID
                                  #:2855


030320177060   03/03/2017   Medicare Cost Report on Marshall Manor            Closed   Medicare Cost Reports               Power Taylor, LLP
                            Nursing & Rehabilitation Center
030320177061   03/03/2017   Medicare Cost Report for Rose Haven Retreat       Closed   Medicare Cost Reports               Powers Taylor, LLP

030320177067   03/02/2017   Augustana Chapel View Care Ctr                    Closed   Medicare Cost Reports               Kosieradzki Smith Law Firm LLC

030320177070   03/08/2017   Indianola Rehabilitation and Healthcare Center    Closed   Medicare Cost Reports               Powers Taylor, LLP
030320177071   03/03/2017   Medicare Cost Report on Legacy Manor              Closed   Medicare Cost Reports               Powers Taylor, LLP
                            Nursing and Rehabilitation
030320177072   03/03/2017   Medicare Cost Report on Queen City Nursing        Closed   Medicare Cost Reports               Powers Taylor, LLP
                            Center
030320177083   03/08/2017   Shelby Health and Rehabilitation Center           Closed   Medicare Cost Reports               Powers Taylor, LLP
030320177084   03/08/2017   Greenbough Health and Rehabilitation Center       Closed   Medicare Cost Reports               Powers Taylor, LLP
030320177085   03/08/2017   Delta Rehabilitation and Healthcare Center of     Closed   Medicare Cost Reports               Powers Taylor, LLP
                            Cleveland
03032017C030   03/21/2017   Prime Business                                    Closed   Provider Information (Non-survey-
                                                                                       related)
03032017C031   03/29/2017   [Records Review] 2012-2013 Medicare Cost          Closed   Medicare Cost Reports               Arkansas Department of Human
                            Reports for provider 260065                                                                    Services
03032017C032   03/27/2017   Delta Medical Center Memphis                      Closed   Medicare Cost Reports               Arkansas Department of Human
                                                                                                                           Services
030620177028   03/06/2017   International Normalized Ratio Testing            Open     Other Document Types                The Health Law Partners
030620177040   03/27/2017   Market Place                                      Open     Marketplace
030620177053   03/09/2017   Number of patients in the state of West           Open     CMS Data
                            Virginian that are in renal failure and/or on
                            dialysis, due to drug use, out of the number of
                            patients in renal failure
030620177055   03/27/2017   Marketplace Request for beneficiary records       Open     Marketplace
030620177069   03/22/2017   Cost Report Form (2552-96) for FY 1999 for        Closed   Medicare Cost Reports               St. Luke's Health System
                            McCall Memorial Hospital, CCN: 13-1312

030620177077   03/15/2017   Access to CMS' internal EOB record retention      Open     Other Document Types
                            policy
030620177080   03/08/2017   Correspondence related to Health Integrity        Closed   Other Document Types                Liles Parker PLLC
                            Audit Records Request Letter
030620177084   03/03/2017   MEDIA: Emails between the White House and         Open     Corr / Congressional Comm / CMS     Democratic National Committee
                            CMS Employees Involved in maintaining the                  Employee Emails                     (DNC)
                            Healthcare.gov Website since Jan 20, 2017

030620177095   03/08/2017   The Arbors at Gallipolis (Casper Reports)    Closed        Other Document Types                The Dickson Firm
030720177044   03/07/2017   Capital Transitional Care and Covenant Care  Closed        Audit Records                       York Law Corporation
                            California
030720177069   03/02/2017   Remove from Mailing List and Cancel          Closed        Marketplace
                            Marketplace Application - Not a FOIA Request

030720177073   03/07/2017   (1 spreadsheet) Centers for Medicare &            Open     Other Document Types                American Safe Sight Foundation
                            Medicaid Services Freedom of Information Act
                            request
030720177077   03/27/2017   Marketplace - Applications (multiple)             Open     Marketplace
030720177085   03/08/2017   Pablo Trevino (overpayment) (CD-ROM)              Closed   Audit Records                       Parsons Behle & Latimer
030720177087   03/08/2017   File No. 20318.798 (CD-ROM)                       Closed   Audit Records                       Parsons Behle & Latimer
030720177090   03/08/2017   File No. 20318.787 (CD-ROM)                       Closed   Audit Records                       Parsons Behle & Latimer
030720177091   03/08/2017   File No. 20318-787 (CD-ROM)                       Closed   Audit Records                       Parsons Behle & Latimer
030720177094   03/08/2017   File No. 20318-867 (CD-ROM)                       Closed   Audit Records                       Parsons Behle & Latimer
030720177096   03/08/2017   File No. 20318-793 (CD-ROM)                       Closed   Audit Records                       Parsons Behle & Latimer
030720177107   03/09/2017   Medicare Cost Reports - The Arbors at             Closed   Medicare Cost Reports               The Dickson Firm
                            Gallipolis
03072017C001   03/27/2017   MS Facilities                                     Closed   Medicare Cost Reports               Office of the Governor, Division of
                                                                                                                           Medicaid
03072017C018   03/14/2017   [Records Review] FOIA REQUEST FOR                 Closed   Other Document Types                KATTEN MUCHIN ROSENMAN
                            INFORMATION REGARDING WALTER                                                                   LLP
                            BRACING INC. AND SUBMISSIONS FOR
                            HCPCS CODING FOR WRAPTOR MAX
                            AND WRAPTOR LOW-PRO
03072017C022   03/30/2017   [Records Review] list of provider information     Closed   Provider Information (Non-survey-   ECC Technologies, Inc.
                            for Jurisdiction E                                         related)
030820177029   03/09/2017   Documents related to beneficiary records          Closed   Marketplace
030820177035   03/08/2017   FYE 2015 Medicare Cost Reports (multiple          Closed   Provider Information (Non-survey-   Allegheny Health Network
                            facilities)                                                related)
030820177037   03/09/2017   St. Vincent's Hospital East                       Closed   Provider Information (Non-survey-   Marsh, Rickard, Bryan P.C.
                                                                                       related)
030820177038   03/06/2017   NEWS MEDIA: CMS termination of Medicare Closed             Provider Information (Non-survey-   Kaiser Health News
                            certification for hospice providers - between Jan.         related)
                            1, 2006 and Dec. 31, 2016
 Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 47 of 53 Page ID
                                  #:2856


030820177047   03/10/2017   Contract, including amendments for Business    Closed        Contracts / Grants / Cooperative    HIMSS Analytics
                            Intelligence Solution Solicitation number:                   Agreements
                            5400011337, including the proposal from the
                            winning vender as well as any non-winning
                            bidders South Carolina
030820177051   03/08/2017   Georgetown Manor in Louisville, Kentucky -     Closed        Provider Information (Non-survey-   Thomas Law Offices
                            1/1/15-12/31/16                                              related)
030820177063   03/10/2017   RUG data from Georgetown Manor in              Closed        CMS Data                            Thomas Law Offices
                            Louisville, Kentucky (Medicare Provider No.
                            100208) from 1/1/15-12/31/16
030820177066   03/09/2017   MDS 3.0 data from Georgetown Manor in          Closed        CMS Data                            Thomas Law Offices
                            Louisville, Kentucky (Medicare Provider No.
                            100208), from 1/1/15-12/31/16
030820177091   03/08/2017   Cost Reports for 75 Nursing & Rehabs-Most      Closed        Medicare Cost Reports               RHCC Healthcare Consulting
                            Current
030820177094   03/10/2017   Delta Rehabilitation and Healthcare Center of  Closed        Medicare Cost Reports               Powers Taylor, LLP
                            Cleveland
030820177095   03/13/2017   Columbia Rehabilitation and Healthcare Center, Closed        Medicare Cost Reports               Powers Taylor, LLP
                            LLC
030820177113   03/13/2017   Covington CO Nursing Center                    Closed        Medicare Cost Reports               Powers Taylor, LLP
030920177032   03/15/2017   Medicaid Drug Rebate Dsipute Resolution        Closed        Other Document Types                Hooper, Lundy & Bookman, P.C.
                            Program
030920177044   03/09/2017   Correspondence related to changes to           Open          Corr / Congressional Comm / CMS     Democratic National Committee
                            healthcare.gov website & Records calls and                   Employee Emails
                            faxes from the White House
030920177045   03/10/2017   Access to 2016 and 2017 Medicare Advantage Open              Other Document Types                MVP Health Care
                            Organization (MAO)
030920177054   03/08/2017   Trivoli at Divine Savior Healthcare            Closed        Medicare Cost Reports               Boller & Vaughan, LLC
030920177061   03/13/2017   Information & documents in to Medicare Part B Open           Other Document Types                SIDLEY AUSTIN LLP
                            fee schedules
030920177069   03/10/2017   RUG data from the Masonic Homes of             Closed        CMS Data                            Thomas Law Offices
                            Louisville located at 240 Masonic Home Drive,
                            Louisville, KY (Medicare Provider No.
                            100225),from 12/1/11 TO 7/31/14
030920177073   03/27/2017   Correspondence between CMS and HCR             Open          Corr / Congressional Comm / CMS     Wilkes & McHugh, P.A.
                            ManorCare Services, LLC Re: FOIA Requests                    Employee Emails

030920177081   03/09/2017   Person Hospital's Skilled Nursing Facility and      Closed   Provider Information (Non-survey-   Rose Harrison & Gilreath, P.C.
                            Person Hospital's Long-Term Care Facility -                  related)
                            June 1, 2015 through September 21, 2015
030920177090   03/09/2017   3 Florida facilities                                Closed   Medicare Cost Reports
030920177094   03/09/2017   Medicare Cost Report on Weatherford Health          Closed   Medicare Cost Reports               Powers Taylor, LLP
                            Care Center
030920177096   03/09/2017   Pinebrook Center                                    Closed   Medicare Cost Reports
030920177097   03/09/2017   Cypress Village (Provider No. 105745)               Closed   Provider Information (Non-survey-   Steve Watrel, P A
                                                                                         related)
030920177098   03/09/2017   Medicare Advantage Plans                            Closed   Provider Information (Non-survey-   MSP Recovery
                                                                                         related)
030920177099   03/10/2017   Muhlenberg Community Hospital                  Closed        Medicare Cost Reports               BKD, LLP
030920177101   03/09/2017   Centers for Medicare & Medicaid Services       Closed        Other Document Types                California Department of Justice
                            Freedom of Information Act request
03092017C002   03/30/2017   [Records Review] provider lists with telephone Closed        Other Document Types                ECC Technologies, Inc.
                            numbers and contact information
031020177010   03/16/2017   Access of correspondence exchanged between Open              Corr / Congressional Comm / CMS     self
                            CMS & Edward W. Gillespie while w/American                   Employee Emails
                            Insurance Association
031020177019   03/13/2017   Correspondence between CMS and Myers and Open                Corr / Congressional Comm / CMS     Red Hill Analytics, LLC
                            Stauffer, a government contractor                            Employee Emails
031020177027   03/15/2017   Latino HealthCare Forum                        Closed        Audit Records                       Austin American-Statesman
031020177042   03/10/2017   HHSM-500-2014-RFP-0068                         Open          Other Document Types                Certified Languages International
031020177053   03/09/2017   Good Samaritan Society-Maplewood               Closed        Medicare Cost Reports               Kosieradzki Smith Law Firm LLC

031020177063   03/23/2017   CMS state-wide average for Massachusetts            Closed   Provider Information (Non-survey-   Capes Sokol Goodman &
                            assisting living and nursing facilities for every            related)                            Sarachan, P.C.
                            year from 2011 to present
031020177064   03/15/2017   Edward J. Markey FOIA dated 10/11/2016              Closed   Corr / Congressional Comm / CMS     Falcon Research
                                                                                         Employee Emails
031020177073   03/13/2017   Emails between CMS and Nevada Primary Care Open              Corr / Congressional Comm / CMS
                            Network                                                      Employee Emails
031020177084   03/10/2017   All CMS-10455 from RO 9                        Closed        Other Document Types                BuzzFeed News
031320177020   03/14/2017   SiverScript's Direct and Indirect Remuneration Open          CMS Data                            Frier Levitt
                            (DIR) data, cost data, and/or benefit
                            management data for contract years 2013, 2014,
                            2015, and 2016
 Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 48 of 53 Page ID
                                  #:2857


031320177023   03/13/2017   GA Facilties and doctors                          Open      Provider Information (Non-survey-   Katz, Marshall & Banks, LLP
                                                                                        related)
031320177034   03/09/2017   Correspondence and communication, program         Closed    Contracts / Grants / Cooperative    self
                            reports and financial reports received from the             Agreements
                            George Washington University - CMS Award
                            #1C1CMS331343
031320177037   03/13/2017   Amedisys Georgia. LLC                             Open      Provider Information (Non-survey-   Katz, Marshall & Banks, LLP
                                                                                        related)
031320177042   03/31/2017   Macclenny Nursing and Rehab Center                Closed    Provider Information (Non-survey-   Steve Watrel, P A
                                                                                        related)
031320177045   03/13/2017   The Terrace of Jacksonville                       Closed    Provider Information (Non-survey-   Steve Watrel, P A
                                                                                        related)
031320177048   03/13/2017   Jacksonville Nursing and Rehab Center             Closed    Provider Information (Non-survey-   Steve Watrel, P A
                                                                                        related)
031320177050   03/13/2017   Heartland Health Care Center--Jacksonville        Closed    Provider Information (Non-survey-   Steve Watrel, P A
                                                                                        related)
031420177001   03/14/2017   Access to records concerning Baseline Average Open          Other Document Types                Blank Rome LLP
                            Manufacturer Price ("AMP") or Base Date AMP

031420177002   03/17/2017   Home Health Alliance of Ohio                      Closed    Provider Information (Non-survey-   Spangenberg Shibley & Liber LLP
                                                                                        related)
031420177003   03/15/2017   Copies of own Medicare applications            Closed       CMS Data                            OC Housecalls, Inc.
031420177009   03/15/2017   Copies of emails sent & received by Dr. Andrey Open         Corr / Congressional Comm / CMS     America Rising
                            Ostrovsky - South by Southwest Conference                   Employee Emails

031420177011   03/14/2017   Govenor's Creek Health & Rehab                    Open      Provider Information (Non-survey-   The Lawerence Law Group
                                                                                        related)
031420177016   03/15/2017   Information pertaining to the CMS NPI Registry Closed       CMS Data                            Delta Dental of Illinois

031420177019   03/14/2017   Palm Garden Of Pinellas                           Closed    Medicare Cost Reports
031420177022   03/31/2017   Pinellas Point Nursing & Rehab.                   Closed    Provider Information (Non-survey-
                                                                                        related)
031420177026   03/14/2017   New York Medicaid State Plan Amendment 15- Open             Medicaid / Chip / State Records     Harter Secrest & Emery LLP
                            0056
031420177030   03/15/2017   Access to list of Medicare beneficiaries with a Closed      CMS Data                            MSP Recovery
                            group health plan insurance for 2016
031420177037   03/15/2017   1115 Medicaid Demonstrations                    Closed      Medicaid / Chip / State Records     Associated Press
031420177044   03/15/2017   Medicare Claims Data                            Closed      CMS Data                            self
031420177049   03/17/2017   (44 pages) The Laurels of Mt. Vernon            Closed      Other Document Types                The Dickson Firm
031420177059   03/17/2017   Abors At Marietta (Casper Reports)              Closed      Other Document Types                The Dickson Firm
031520177031   03/15/2017   10 Florida Facilities                           Closed      Medicare Cost Reports               The Girvin Group, Inc.
031520177034   03/30/2017   MDS Part Z data at Glendora Grand from          Closed      CMS Data                            Moran Law 5 Hutton Centere Drive
                            1/1/14-3/31/15
031520177036   03/16/2017   PBJ data re Glendora Grand, Inc., Shoreline     Closed      CMS Data                            Moran Law
                            Healthcare Center, Colonial Care Center,
                            Providence Ontario, Van Nuys Health Care
                            Center, Alamitos West Healthcare Center
031520177041   03/15/2017   Centers for Medicare & Medicaid Services        Closed      CMS Data                            Moran Law
                            Freedom of Information Act request
031520177045   03/15/2017   Centers for Medicare & Medicaid Services        Closed      CMS Data                            Moran Law 5 Hutton Centere Drive
                            Freedom of Information Act request
031520177053   03/15/2017   Vida Encantada Nursing & Rehabilitation         Closed      Medicare Cost Reports               Pitman Kalkhoff, Sicula & Dentice,
                                                                                                                            S.C.
031520177062   03/15/2017   Provider Management & Development                 Closed    Medicare Cost Reports               Wilkes & McHugh, P.A.
                            Corporation
031520177064   03/15/2017   Hilltop Nursing & Rehab Facility                  Closed    Medicare Cost Reports               Wilkes & McHugh, P.A.
03152017C028   03/27/2017   [Records Review] CAC Member Listing               Closed    Other Document Types                Arctic Medical Laboratories
031620177022   03/20/2017   Overpayment Case (Juan Rocha, DPM)(CD-            Closed    Provider Information (Non-survey-   Parsons Behle & Latimer
                            ROM)                                                        related)
031620177024   03/20/2017   Overpayment Case (CD-ROM)                         Closed    Provider Information (Non-survey-   Parsons Behle & Latimer
                                                                                        related)
031620177025   03/20/2017   Overpayment Case (CD-ROM)                         Closed    Provider Information (Non-survey-   Parsons Behle & Latimer
                                                                                        related)
031620177050   03/16/2017   The Laurels of Mt. Vernon                          Closed   Medicare Cost Reports               The Dickson Firm
031620177123   03/20/2017   Information related to publicly accessible related Closed   Other Document Types                St Luke's Health System
                            to the email address grantj@slhs.org
031620177124   03/22/2017   Data request related to CMS Workers                Open     CMS Data                            NCCI
                            Compensation Medicare Set Asides (WCMSA)

03162017C005   03/22/2017   [Records Review] Medicare Cost Reports, NPR Closed          Medicare Cost Reports               LeBlanc, Robertson, Chisholm &
                            and Audit Adjustment Reports for Louisiana                                                      Associates, LLC
                            Hospitals & Freestanding Rural Health Clinics
                            finalized in February 2017
 Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 49 of 53 Page ID
                                  #:2858


031720177002   03/15/2017   Requesting copies of 1099 forms for years       Closed    Other Document Types                 Maidman-Joshua Inc
                            2013, 2014 and 2015 for a single business
031720177004   03/15/2017   Records from Pontiac Nursing Home               Closed    Provider Information (Non-survey-    Walter D. Kogut, P.C.
                                                                                      related)
031720177012   03/29/2017   Maximus Federal Services                        Closed    Provider Information (Non-survey-    self
                                                                                      related)
031720177038   03/17/2017   Centers for Medicare & Medicaid Services        Closed    CMS Data                             National Seniors Housing Group
                            Freedom of Information Act request
031720177066   03/17/2017   Medicare Cost Report on Muenster Health &       Closed    Medicare Cost Reports
                            Rehabilitation
031720177070   03/17/2017   Medicare Cost Report on Willowbrook Nursing     Closed    Medicare Cost Reports
                            Center
031720177073   03/17/2017   Medicare Cost Report on Franklin Nursing        Closed    Medicare Cost Reports                Powers Taylor, LLP
                            Home
032020177015   03/20/2017   General Hospital of Dilly, Texas, Inc.          Closed    Provider Information (Non-survey-    Smith Kendall, PLLC
                                                                                      related)
032020177023   03/20/2017   Request Related To Contract                     Open      Contracts / Grants / Cooperative     Fed Savvy Strategies, LLC
                            HHSM500201300338G                                         Agreements
032020177027   03/21/2017   Oversight of State Performance (OSP) Option Open          Contracts / Grants / Cooperative     Healthcare Management Solutions,
                            Year 1, Contract Number: HHSM-500-2014-                   Agreements                           LLC
                            00459G
032020177031   03/17/2017   all records created or sent from Jan 1, 2007 –  Open      Corr / Congressional Comm / CMS      On Point Investigations LLC
                            Oct 5, 2016, regarding correspondence in which            Employee Emails
                            CMS expressly told Mylan that Epipen is
                            incorrectly classified for purposes of the
                            Medicaid Drug Rebate Program.
032020177043   03/21/2017   NEWS MEDIA: All ACTS reports stemming           Open      Other Document Types                 BuzzFeed News
                            from hospital deaths associated with restraints
                            and seclusions submitted to the ACTS system
                            between Jan. 1, 2014
032020177045   03/16/2017   Auburn Manor                                    Closed    Medicare Cost Reports                Kosieradzki Smith Law Firm LLC

032020177063   03/20/2017   Palm Garden of Aventura                          Closed   Medicare Cost Reports
032020177065   03/21/2017   Documents describing whether and how             Closed   Quality Initiatives and Programs /   Psych Appeal
                            InterQual Criteria (or other, proprietary third           QIOs
                            party guidelines) may be used by the following
                            entities when National Coverage Determinations
                            and/or Local Coverage Determinations already
                            exist
032020177077   03/16/2017   Advocate Christ Medical Center                   Closed   Other Document Types                 Romanucci & Blandin
032020177080   03/27/2017   Marketplace I am requesting access to the        Open     Marketplace
                            RESULT(APPROVAL) LETTER for an
                            application they submitted on December 23,
                            2016 to the Health Insurance Marketplace
032020177086   03/23/2017   Marketplace insurance coverage related request Closed     Marketplace                          self
                            to un-link joint spousal coverage due to divorce
                            & safety concerns
032020177088   03/20/2017   Centers for Medicare & Medicaid Services         Closed   Other Document Types
                            Freedom of Information Act request
032020177094   03/20/2017   Medicare Cost Report on Lindan Park Care         Closed   Medicare Cost Reports
                            Center, LP
032020177097   03/20/2017   Medicare Cost Report on The Laurenwood           Closed   Medicare Cost Reports
                            Nursing and Rehabilitation
032020177098   03/20/2017   Medicare Cost Report on Millowbrook              Closed   Medicare Cost Reports
                            Healthcare and Rehabilitation Center
032020177100   03/20/2017   Medicare Cost Report on Corpus Christi           Closed   Medicare Cost Reports
                            Nursing and Rehabilitation Center
032020177103   03/16/2017   State Grant Applications for PR-PRP-14-001       Closed   Contracts / Grants / Cooperative     University of California, Berkeley
                                                                                      Agreements
032020177108   03/22/2017   List of Doctors who take Medicare (Certain      Closed    Provider Information (Non-survey-    All Compliant Medical Billing,
                            States)                                                   related)                             LLC
032020177109   03/18/2017   (DUPLICATE) List of Medicare doc providers Closed         Provider Information (Non-survey-    All Compliant Medical Billing,
                            not yet filing electronically for CA, AZ, NV,             related)                             LLC
                            OR, WA, ID, MT, UT
032120177013   03/27/2017   Marketplace Request for early 2017 applications Open      Marketplace
                            for exemption from the Marketplace coverage
                            requirement
032120177022   03/17/2017   Comprehensive Primary Care                      Closed    Provider Information (Non-survey-
                                                                                      related)
032120177036   03/20/2017   Martin Luther Care Center                       Closed    Medicare Cost Reports                Kosieradzki Smith Law Firm LLC

032120177044   03/17/2017   Marketplace Health Insurance - Eligibility      Open      Marketplace                          self
                            Denial Letter
 Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 50 of 53 Page ID
                                  #:2859


032120177079   03/24/2017   Marketplace Applications and Audio Recording Open        Marketplace
                            from Mar - May, 2016.
032120177093   03/23/2017   Contracts, Documents, Guidelines, etc between Open       CMS Data                             Christopher R. Johnson, PLLC
                            CMS & BCBS of Florida, Inc.
032120177096   03/22/2017   Guardian Care Nursing & Rehab Center          Closed     Provider Information (Non-survey-    Colling Gilbert Wright & Carter
                                                                                     related)
032220177004   03/24/2017   Rennes Health & Rehab Center - Weston           Closed   Provider Information (Non-survey-    Pitman Kalkhoff Sicula & Dentice
                                                                                     related)                             SC
032220177005   03/22/2017   ASC Quality Reporting Program regarding         Open     Quality Initiatives and Programs /   Kaiser Health News
                            surgery centers                                          QIOs
032220177006   03/22/2017   Task Order No. HHSM500T0004                     Open     Contracts / Grants / Cooperative     DLA Piper LLP (US)
                                                                                     Agreements
032220177013   03/27/2017   Transformed Medicaid Statistical Information    Open     Medicaid / Chip / State Records      DLA Piper LLP (US)
                            System (T-MSIS), the Medicaid & CHIP
                            Program (MACPro), and updated Medicaid
                            Drug Rebate system projects (collectively
                            MACBIS projects)
032220177014   03/31/2017   Fraud Prevention System (HHSM-500-2016-00       Closed   Contracts / Grants / Cooperative     DLA Piper LLP (US)
                            022C), and the Fraud Prevention System 2.0               Agreements
                            (HHSM- 500-2016-00 023C)
032220177015   03/23/2017   Inquiries concerning Open Payments Record -     Closed   Provider Information (Non-survey-
                            ACA                                                      related)
032220177016   03/22/2017   Medicare Payment Supperssion Case               Closed   Provider Information (Non-survey-    Locke Lord, LLP
                            (Healthcare In-Home Services of Purcell, LLC)            related)

032220177017   03/22/2017   Medsurant Holdings, LLC                         Open     Payment Coding Information           Bass, Berry & Sims PLC
032220177021   03/24/2017   Integrated Data Repository (IDR)                Open     Contracts / Grants / Cooperative     DLA Piper LLP (US)
                                                                                     Agreements
032220177039   03/22/2017   MDS Part Z data from Antelope Valley          Closed     CMS Data                             Law Offices of Ben Yeroushalmi
                            Healthcare from 01/01/12 - 12/31/12
032220177040   03/22/2017   MDS Part Z data from Brookdale San Juan       Closed     CMS Data                             Law Offices of Ben Yeroushalmi
                            Capistrano from 01/01/16 - 12/31/16
032220177042   03/22/2017   MDS Part Z data from Spring Valley Post-Acute Closed     CMS Data                             Law Offices of Ben Yeroushalmi
                            from 1/1/14 - 12/31/14
032220177044   03/22/2017   MDS Part Z from Terracina Post-Acute 1/1/17 - Closed     CMS Data                             Law Offices of Ben Yeroushalmi
                            present
032220177045   03/22/2017   MDS Part Z from Villa Wilshire Convalescent Closed       CMS Data                             Law Offices of Ben Yeroushalmi
                            Center 1/1/15 - 12/31/15
032220177047   03/22/2017   MDS Part Z from Golden Living Center 1/1/16 - Closed     CMS Data                             Law Offices of Ben Yeroushalmi
                            12/31/16
032220177048   03/27/2017   Medicare Cost Reports for Perry Health Care   Closed     Medicare Cost Reports                Pitman, Kalkhoff, Sicula &
                            Center                                                                                        Dentice, S.C.
032220177049   03/22/2017   MDS Part Z from Linda Valley Care Center      Closed     CMS Data                             Law Offices of Ben Yeroushalmi
                            1/1/14-12/31/14
032220177051   03/22/2017   MDS Part Z from The Rehabilitation Center of Closed      CMS Data                             Law Offices of Ben Yeroushalmi
                            Bakersfield 1/1/14 - 12/31/14
032220177053   03/22/2017   MDS Part Z from Rimrock Villa Convalescent Closed        CMS Data                             Law Offices of Ben Yeroushalmi
                            Hospital 1/1/14 - 12/31/14
032220177055   03/22/2017   MDS Part Z from Antelope Valley Healthcare Closed        CMS Data                             Law Offices of Ben Yeroushalmi
                            1/1/13 - 12/31/13
032220177058   03/22/2017   MDS Part Z from San Fernando Post-Acute       Closed     CMS Data                             Law Offices of Ben Yeroushalmi
                            Hospital 1/1/14 - 12/31/14
032220177061   03/22/2017   MDS Part Z from Spring Valley Post Acute      Closed     CMS Data                             Law Offices of Ben Yeroushalmi
                            1/1/15 - 12/31/15
032220177063   03/22/2017   MDS Part Z from Villa Elena Healthcare Center Closed     CMS Data                             Law Offices of Ben Yeroushalmi
                            1/1/15 - 12/31/15
032220177064   03/22/2017   MDS Part Z from Villa Wilshire Convalescent Closed       CMS Data                             Law Offices of Ben Yeroushalmi
                            Center 1/1/16 - 12/31/16
032220177066   03/22/2017   MDS Part Z from Linda Valley Care Center      Closed     CMS Data                             Law Offices of Ben Yeroushalmi
                            1/1/12 - 12/31/12
032220177068   03/22/2017   MDS Part Z from THe Rehabilitation Center of Closed      CMS Data                             Law Offices of Ben Yeroushalmi
                            Beverly Hills 1/1/15 - 12/31/15
032220177070   03/22/2017   MDS Part Z from The Rehabilitation Center of Closed      CMS Data                             Law Offices of Ben Yeroushalmi
                            Bakersfield 1/1/15 - 12/31/15
032220177071   03/22/2017   MDS Part Z from Rimrock Villa Convalescent Closed        CMS Data                             Law Offices of Ben Yeroushalmi
                            1/1/15 - 12/31/15
032220177073   03/22/2017   MDS Part Z from Brookdale San Juan            Closed     CMS Data                             Law Offices of Ben Yeroushalmi
                            Capistrano 1/1/15 - 12/31/15
032220177074   03/22/2017   MDS Part Z from San Fernando Post Acute       Closed     CMS Data                             Law Offices of Ben Yeroushalmi
                            Hospital 1/1/15 - 12/31/15
032220177075   03/30/2017   Requesting provider submissions or payments   Open       Provider Information (Non-survey-    Citizens Commission on Human
                            for 3 specific providers in NY related                   related)                             Rights (CCH
                            Electroconvulsive Therapy (ECT)
 Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 51 of 53 Page ID
                                  #:2860


032220177082   03/23/2017   HIMSS Analytics Information Request:          Closed       CMS Data                            HIMSS Analytics
                            Maryland
032220177084   03/22/2017   MDS Part Z for Terracina Post Acute 1/1/16 - Closed        CMS Data                            Law Offices of Ben Yeroushalmi
                            12/31/16
032220177086   03/22/2017   MDS Part Z from Villa Elena Healthcare Center Closed       CMS Data                            Law Offices of Ben Yeroushalmi
                            1/1/16 0 12/31/16
032220177087   03/22/2017   MDS Part Z Golden Living Center 1/1/15 -      Closed       CMS Data                            Law Offices of Ben Yeroushalmi
                            12/31/15
032220177088   03/22/2017   MDS Part Z Linda Valley Care Center 1/1/13 - Closed        CMS Data                            Law Offices of Ben Yeroushalmi
                            12/31/13
032220177089   03/22/2017   MDS Part Z for The Rehabilitation Centre of   Closed       CMS Data                            Law Offices of Ben Yeroushalmi
                            Beverly Hills 1/1/16 - 12/31/16
032220177091   03/22/2017   MDS Part Z from Rimrock Villa Convalescent Closed          CMS Data                            Law Offices of Ben Yeroushalmi
                            Hospital 1/1/13 - 12/31/13
032220177093   03/21/2017   HCPCS code G0453 should be applied to         Closed       Payment Coding Information          Bass, Berry & Sims PLC
                            intraoperative neuromonitoring (IONM)
                            providers
032320177005   03/23/2017   Cost Reports                                  Closed       Medicare Cost Reports               Terrebonne Homecare, Inc.
032320177015   03/23/2017   Cypress Skilled Nursing LLC                   Closed       Medicare Cost Reports               Coyne Pest Control
032320177019   03/23/2017   Apollo Health & Rehab. Ctr.                   Closed       Medicare Cost Reports
032320177022   03/23/2017   St. Anthony’s Hospital                        Closed       Medicare Cost Reports
032320177023   03/23/2017   Englewood HC&RC                               Closed       Medicare Cost Reports
032320177033   03/23/2017   GA facilities                                 Closed       Medicaid / Chip / State Records     Wilkes & McHugh, P.A.
032320177070   03/28/2017   Information for NPI 1144685728                Closed       Provider Information (Non-survey-   Airlift Northwest
                                                                                       related)
032420177004   03/27/2017   total enrollment and deaths for each calendar     Closed   CMS Data                            Aon Hewitt
                            year from 2010 to 2015 split by gender, single-
                            year age groups, and the smallest geographical
                            area available (either census block group or
                            ZIP+4)
032420177007   03/27/2017   Cal MediConnect - Quality Withhold                Open     CMS Data                            Heritage Provider Network
                            Performance for Demonstration Year 1 for the
                            listed below California health plans: Health Net,
                            LA Care, Molina, Inland Empire, Cal Optima.

032420177014   03/31/2017   Medicare Part B coverage and billing processes Open        Other Document Types                self
                            for Invega Sustenna for beneficiary (for her son)

032420177022   03/29/2017   Highland Rehabilitation & Health Care Center     Closed    Provider Information (Non-survey-   The Steele Law Firm
                                                                                       related)
032420177024   03/27/2017   Beautiful Savior Home                            Closed    Provider Information (Non-survey-   The Steele Law Firm
                                                                                       related)
032420177029   03/27/2017   Westridge Gardens Rehab & Health Care Center Closed        Provider Information (Non-survey-   The Steele Law Firm
                                                                                       related)
032420177053   03/27/2017   List of Home Health agencies and their           Closed    Other Document Types                Axxess
                            HHCAHPS vendors
032420177056   03/27/2017   CD-ROM (Infinity Healthcare, Inc.)               Open      Provider Information (Non-survey-   Kennedy Attorney & Counselors at
                                                                                       related)                            Law
032420177059   03/24/2017   List of external quality review organizations    Closed    Contracts / Grants / Cooperative    MHS
                            (EQRO) and Medicaid managed care contracts                 Agreements
                            for each/all 50 states
032420177070   03/28/2017   Terrebonne Homecare, Inc.                        Closed    Provider Information (Non-survey-   Terrebonne Homecare, Inc.
                                                                                       related)
032420177071   03/27/2017   Sharon Lane Health Services                      Closed    Provider Information (Non-survey-   The Steele Law Firm
                                                                                       related)
032420177072   03/27/2017   Villa St. Joseph                                 Closed    Provider Information (Non-survey-   The Steele Law Firm
                                                                                       related)
032420177083   03/24/2017   Centers for Medicare & Medicaid Services         Closed    Medicare Cost Reports               Moran Law 5 Hutton Centere Drive
                            Freedom of Information Act request
032420177093   03/24/2017   Corner Brook Place                               Closed    Medicare Cost Reports               Carter Law Offices
032420177103   03/24/2017   Cost Report Request 23 Hospitals                 Open      Provider Information (Non-survey-   Dentons
                                                                                       related)
032720177014   03/24/2017   [DUPLICATE] Payroll Based Journal Data           Closed    Provider Information (Non-survey-   Moran Law 5 Hutton Centere Drive
                            Request                                                    related)
032720177020   03/27/2017   Signature Healthcare of Heritage Hall            Closed    Medicare Cost Reports               Morgan & Morgan
032720177021   03/27/2017   Parkview Nursing and Golden Living, St.          Closed    Medicare Cost Reports               Morgan & Morgan
                            Matthews
032720177024   03/27/2017   9 KY facilities                                  Closed    Medicare Cost Reports               Morgan & Morgan
032720177028   03/26/2017   Medicare Appeals sent to Maximus Inc.            Open      CMS Data                            self
032720177036   03/28/2017   (155 pages) Red Cedar Surgery Center             Closed    Other Document Types                Steven D. Lowe, P.C
032720177050   03/28/2017   Request for result of request for exemption from Open      Marketplace                         A CONCERNED CITIZEN
                            shared responsibility payment letter for
                            Marketplace
 Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 52 of 53 Page ID
                                  #:2861


032720177078   03/29/2017   Contracts between HHS and any/all PDP           Open     Provider Information (Non-survey-   National Healthcare Analysis
                            sponsors                                                 related)                            Group
032720177081   03/29/2017   (27 pages) 2016 State Performance Measures      Closed   Other Document Types                The Plain Dealer
                            Review
03272017C024   03/27/2017   [Records Review] CAC Member Listing             Closed   Other Document Types                Arctic Medical Laboratories
032820177015   03/29/2017   Medicare Cost Report - Life Care Center of      Closed   Medicare Cost Reports               The Dickson Firm
                            Elyria
032820177061   03/28/2017   HHSM500201500261C - Winning Proposal            Closed   Contracts / Grants / Cooperative    FOIA Group, Inc.
                                                                                     Agreements
032820177064   03/29/2017   Eureka Rehab & Wellness Center and Seaview Open          Medicare Cost Reports               Janssen Malloy LLP
                            Rehab & Wellness Center - both in Eureka, CA

032920177025   03/29/2017   Alliance Health & Rehab. Center                 Closed   Medicare Cost Reports
032920177031   03/29/2017   Transcripts of Conversations with Marketplace   Closed   Marketplace

032920177047   03/29/2017   Richmond Helath Facilities-Madison LP           Closed   Provider Information (Non-survey-   Wilkes & McHugh, P.A.
                                                                                     related)
032920177048   03/29/2017   Ridgeway Nursing and Rehab, LLC                 Closed   Provider Information (Non-survey-   Wilkes & McHugh, P.A.
                                                                                     related)
032920177053   03/31/2017   Access to applicants for Contract Specialist    Closed   CMS Data                            self
                            CMS-OAGM-DH-XX-XXXXXXX
032920177056   03/29/2017   Medicare Cost Reports for Devon Gables          Closed   Medicare Cost Reports               Hicks Thomas LLP
                            Rehabilitation Center
032920177062   03/30/2017   Access to applicants for Contract Specialist    Closed   CMS Data                            self
                            CMS-OAGM-DH-XX-XXXXXXX
032920177063   03/29/2017   Access to applicants for Contract Specialist    Closed   CMS Data                            self
                            CMS-OAGM-DH-XX-XXXXXXX
032920177065   03/31/2017   Access to applicants for Contract Specialist    Closed   CMS Data                            self
                            CMS-OAGM-DH-XX-XXXXXXX
032920177067   03/29/2017   Signature Healthcare                            Closed   Provider Information (Non-survey-   Thomas Law Offices
                                                                                     related)
032920177068   03/29/2017   Ridgeway Nursing & Rehab Facility, LLC          Closed   Medicare Cost Reports               Wilkes & McHugh, P.A.
032920177072   03/29/2017   Signature Healthcare of East Louisville         Closed   Provider Information (Non-survey-   Thomas Law Offices
                                                                                     related)
032920177078   03/31/2017   Request for Data                                Closed   CMS Data                            Thomas Law Offices
032920177079   03/31/2017   Request for Data                                Closed   CMS Data                            Thomas Law Offices
032920177084   03/29/2017   Request for Data                                Closed   CMS Data                            Thomas Law Offices
032920177087   03/31/2017   Request for MDS 3.0 Data                        Closed   CMS Data                            Thomas Law Offices
032920177114   03/29/2017   2016 Drug Pricing Data in the Format Released   Closed   CMS Data                            ProPublica
                            for 2011-2015 on CMS Website
033020177014   03/29/2017   Complete Chiropractic and Rehab Center, LLC     Closed   Provider Information (Non-survey-   Beck,Chaet, Bamberger & Polsky,
                                                                                     related)                            S.C.
033020177022   03/31/2017   Avante at Melbourne, Inc.                       Closed   Provider Information (Non-survey-
                                                                                     related)
033020177034   03/30/2017   Medicare Cost Report for Las Cruces Medical     Closed   Medicare Cost Reports               Curtis & Lucero Attorneys
                            Center, LLC                                                                                  Advocates
033020177042   03/30/2017   2015 Part D Brand Name Drug Rebate Data in      Open     CMS Data                            ProPublica
                            the Format Previously Released for 2014 on
                            CMS Website
033020177068   03/27/2017   Medicare Certified Home Health agencies from    Closed   Other Document Types                George Mason University
                            2006 to present
033120177001   03/30/2017   The Villa at Lincoln Park                       Closed   Provider Information (Non-survey-   Pitman, Kalkhoff, Sicula &
                                                                                     related)                            Dentice, S.C.
033120177005   03/31/2017   Medicare Advantage w/Medicare Advantage        Open      Other Document Types                Manatt, Phelps & Phillips, LLP
033120177014   03/30/2017   Public Records Regarding the Creation of the   Closed    Other Document Types                self
                            Illinois Department of Innovation
033120177015   03/31/2017   The total charges submitted by CMS for the     Closed    Other Document Types
                            following CPT codes by the University of Texas
                            MD Anderson Cancer Center
033120177017   03/31/2017   Cost Reports for 23 Health and Rehab Centers Closed      Medicare Cost Reports               Wilkes & McHugh, P.A.

033120177019   03/31/2017   (362 pages) HCR Manor Care Services, LLC        Open     Provider Information (Non-survey-   Pitman, Kalkhoff, Sicula &
                                                                                     related)                            Dentice, S.C.
033120177026   03/31/2017   Medicare reimbursement-related documents        Open     Other Document Types                Bernstein Litowitz Berger &
                            concerning CSI products                                                                      Grossmann LL
033120177032   03/31/2017   All Documents on Charleston Area Medical        Open     Other Document Types                Nelson Mullins Riley &
                            Center                                                                                       Scarborough LLP
033120177038   03/31/2017   Creekside Court Home                            Closed   Provider Information (Non-survey-   self
                                                                                     related)
033120177046   03/31/2017   Copies of correspondence from Congressman      Open      Corr / Congressional Comm / CMS     self
                            Robert “Beto” O’Rourke and the response to the           Employee Emails
                            correspondence; from Jan 2013 to present.
Case 2:17-cv-08726-DSF-AFM Document 77-1 Filed 06/29/20 Page 53 of 53 Page ID
                                 #:2862


  1                           CERTIFICATE OF SERVICE
  2         I hereby certify that on June 29, 2020, I caused a copy of the
  3   DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING
  4   DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS SECOND
  5   AMENDED COMPLAINT PURSUANT TO RULE 10(A) to be served upon the
  6   following counsel and parties in interest via the Court’s CM/ECF system:
  7
            Gloria Juarez, Esq.                     Frank D. Kortum
  8         Law Offices of Gloria Juarez            Assistant United States Attorney
            26081 Merit Circle, Suite 112           Room 7516, Federal Building
  9         Laguna Hills, California 92653          300 N. Los Angeles St.
                                                    Los Angeles, CA 90012
 10
            Counsel for Relator                     Counsel for the United States of
 11                                                 America

 12
 13   /s/ Frank E. Sheeder III
      Counsel for Moving Defendants
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                             -44-
         DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ REPLY IN
        SUPPORT OF MOTION TO DISMISS SECOND AMENDED COMPLAINT PURSUANT TO RULE 10(A)
